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                           EXHIBIT D
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                                    SNIK LLC v. SAMSUNG ELECTRONICS CO., LTD., et al.
                                               EDTX Case No. 19-cv-00387-JRG
                                           Preliminary Infringement Contentions re
                                                U.S. Patent No. US9769556B2


US9769556B2
       I. Asserted claims:
               a. 1-3; 5-11; 13-20; 22-55
      II. Accused apparatus, products, devices, processes, methods, acts or instrumentalities:
               a. Samsung Galaxy Buds; Samsung Galaxy Buds+ (also styled Samsung Galaxy Buds Plus); Samsung Level U Pro;
                    Samsung Level U Pro ANC
      III. Snik LLC is informed and believes that the accused products, devices, processes, methods, acts or instrumentalities infringe
           either literally or through the doctrine of equivalents.
      IV. US9769556B2 claims priority to provisional application Ser. No. 61/601722, filed on February 22, 2012, which is incorporated
           herein by this reference
      V. References:

[1]      http://downloadcenter.samsung.com/content/MC/201902/20190221105505228/EB/Len/start_here.html
[2]      https://www.inverse.com/article/53923-galaxy-buds-airpods-samsung-rival
[3]      https://imgur.com/RoKlYKl
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[7]      https://www.samsung.com/us/mobile/audio/galaxy-buds/?cid=sem-mktg-pfs-aacc-22019-
         22493&gclid=EAIaIQobChMIm87h3M-h5QIVEsRkCh21hgQBEAAYASAAEgKrUPD_BwE&gclsrc=aw.ds
[8]      https://www.engadget.com/2019/03/13/samsung-galaxy-buds-review-true-wireless-
         earbuds/?guccounter=1&guce_referrer=aHR0cHM6Ly93d3cuZ29vZ2xlLmNvbS8&guce_referrer_sig=AQAAAFjM2X3
         oJV6vXg0zQ9KIGN5Ke71pNu2nAvfnfvVjm_ZcxZfPOQHSMUwe8Vr8buKTKISH_itKbAMRAiwWkhiPxPtsajGhSvRHOMnf
         GM-CkbP-HYe8T-nG-_FM0iyBZtacsa7NjOEDNlaOKkqPPpL3QKGUAMA5tkaW6cnqu1G3nhuA
[9]      Samsung Level U Pro User Manual
[10]     Samsung Level U Pro ANC EO-BG935 User Manual
[11]     Image of CSR8675 System on Chip in Level U Pro Products taken on 10/16/2019
[12]     Qualcomm® CSR8675 Bluetooth Audio Platform



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[13]  Samsung Level U Pro Product Packaging
[14]  Samsung Level U Pro ANC Product Packaging
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[16]  https://www.samsung.com/us/mobile/audio/galaxy-buds/
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[31] https://www.samsung.com/global/galaxy/galaxy-buds-plus/specs/
[32] Teardown Photographs Taken on 04/12/2020 and 05/14/2020
[33] Galaxy Buds+ User Manual at
      http://downloadcenter.samsung.com/content/MC/202003/20200318123539528/EB/Len/003_basics_3.html#1
[34] https://www.samsung.com/us/mobile/audio/galaxy-buds-plus/?cid=sem-mktg-pfs-aacc-us-google-na-03012020-169931-
      &ds_e=GOOGLE-cr:0-pl:268643744-&ds_c=FF~Galaxy+Buds+-
      +Core+Brand_CN~GBP_PH~on_MK~usnat_BS~me_PR~wiaud_SB~galbup_PK~CPL_FS~lo_CA~kew_MD~h_KS~ba_MT~bm
      m-&ds_ag=AG~Samsung+Galaxy+Buds_MK~usnat_AT~ta_MD~h_AI~No-
      &ds_k=%2Bsamsung+%2Bgalaxy+%2Bbuds&gclid=EAIaIQobChMIv4aCrIPm6AIV3x-
      tBh3m1QZ6EAAYASAAEgIYPvD_BwE&gclsrc=aw.ds
 [35] http://downloadcenter.samsung.com/content/MC/202003/20200318123539528/EB/Len/004_using-the-earbuds_5.html#0




                                                                                                                 2
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Claim 1                                Evidence

1[pre]. An audio system comprising:    The preamble is non-limiting. To the extent the preamble is determined to be limiting,
                                       Samsung Galaxy Buds and Samsung Galaxy Buds+ comprise a set of headphones for
                                       removably coupling with a holder body having one or more magnetically attractable first
                                       surfaces:

                                        Samsung Galaxy Buds comprise headphones for playing audio:




                                                                                                           [1]



                                       Samsung Galaxy Buds headphones include a charging case with one or more magnetic
                                       surfaces:




                                                                                                                      3
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                                                                         [1]




                                                                                  [2]




                                                                                        4
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                                                                                  [3]




                                                                                        5
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                                                                                        [23]
                          English Translation: Use multiple magnets to assist in headphone positioning

                          Samsung Galaxy Buds+ comprise earphones for playing audio:




                                                                              [33]
                          Samsung Galaxy Buds+ comprise a charging case with one or more magnets:




                                                                                                         6
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                                                              [33]




                                                              [32]




                                                                                  7
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                                                                          [32]


1[a] a holder body comprising one or more   Samsung Galaxy Buds comprise a charging case with one or more magnetically
magnetically attractable first surfaces;    attractable first surfaces:




                                                                                                   [1]




                                                                                                             [2]




                                                                                                                         8
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                                                                                   [3]




                                                                                         9
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                                                                                         [23]
                           English Translation: Use multiple magnets to assist in headphone positioning


                           Samsung Galaxy Buds+ comprise a charging case with one or more magnetically
                           attractable first surfaces::




                                                                        [33]




                                                                                                          10
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                                                              [32]




                                                     [32]




                                                                                   11
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1[b] a set of head phones each comprising a   Samsung Galaxy Buds comprise a set of head phones each comprising a magnetic
magnetic second surface for removably         second surface for removably coupling with the one or more magnetically attractable
coupling with the one or more magnetically    first surfaces:
attractable first surfaces;




                                                                                                       [1]




                                                                                                                  [2]




                                                                                                                            12
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                                                                                   [3]




                                                                                         13
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                                                                                         [23]



                           Samsung Galaxy Buds+ comprise a set of head phones each comprising a magnetic
                           second surface for removably coupling with the one or more magnetically attractable
                           first surfaces:




                                                                                  [33]

                           Your device contains magnets, which may affect medical devices, such as
                           pacemakers or implantable cardioverter defibrillators. If you are using any of these




                                                                                                         14
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                           medical devices, keep your device a safe distance from them and consult with your
                           physician before you use the device. [33]




                                                                                          [25]




                                                                                   [25]

                           The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                           does make better use of all of its internal space. This time, the 0.315Wh battery is
                           supplied by EVE instead of Varta, and it, together with the main printed circuit board




                                                                                                             15
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                           (PCB), reside in one half of the earbud. The other half of each earbud contains the
                           charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                           drivers which are reportedly more difficult to remove (and haven’t been in the video).
                           [26]




                                                                                       [25]




                                                                                                           16
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1[c] a headphones controller coupled to         Samsung Galaxy Buds comprise a headphones controller coupled to receive an activation
receive an activation signal when a magnetic    signal when a magnetic decoupling is detected as one or more of the magnetic second
decoupling is detected as one or more of the    surfaces of the set of headphones is removed and decoupled from one of the one or
magnetic second surfaces of the set of head     more magnetically attractable first surfaces:
phones is removed and decoupled from one
of the one or more magnetically attractable
first surfaces, wherein the activation signal
causes transmitted audio to be played in the
headphones;




                                                                                                                [4]




                                                                                                               [4]

                                                Galaxy Buds also comprise an ABOV F6432AUB Micro Controller Unit.




                                                                                                                            17
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                                                                                        [14]

                           On information and belief, the ABOV F6432AUB and the controller and/or sensor hub of
                           the BCM43014 System on Chip and are responsive to a magnetic Hall sensor:




                                                                                                       18
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                                                                                   [5]




                                                                                         19
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                                                                                          [14]


                           On information and belief, Galaxy Buds are compatible with Samsung Galaxy
                           products, all of which include a controller configured to receive Bluetooth signals,
                           including without limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy
                           S8+; Galaxy S9; Galaxy S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy
                           A6, Galaxy S10, Galaxy S10 Plus, and Galaxy S10e.




                                                                                                 [5]




                                                                                                       20
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                           Quick pairing out
                           of the box
                           Just pop open and pair. Galaxy Buds work right out of the box, connecting with
                           your Galaxy devices in an instant via Bluetooth to get you up to the beat and
                           well on your way. 1,2,3
                           [6]

                           On information and belief, Galaxy Buds are also compatible with other
                           smartphones, including without limitation Apple iPhones, which also include a
                           controller for receiving Bluetooth signals.




                                                         [7]




                                                                                                  21
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                           When paired to a Bluetooth device that is playing audio, one or both Galaxy Buds
                           earphones activate and begin playing audio when removed from the charging case.




                                                                                             [15]




                           [15]

                           Also, Samsung Galaxy buds detect if one or more earbuds are decoupled from one or more
                           of the magnetically attractable surfaces attached to the holder body and accordingly
                           control the sound output in the earbuds. Further, if one or more earbuds are coupled to
                           one or more of the magnetically attractable surfaces attached to the holder body, the
                           audio stops.




                                                                                                        22
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                           [24]


                           The electronic device controller receives a deactivation signal when one or more of
                           the set of earphones are coupled to one or more of the magnets. When paired to
                           a Bluetooth device that is playing audio, one or both Galaxy Buds earphones are
                           deactivated and cannot play audio when in the holder.

                           Samsung Galaxy Buds+ comprise a headphones controller coupled to receive an
                           activation signal when a magnetic decoupling is detected as one or more of the
                           magnetic second surfaces of the set of headphones is removed and decoupled
                           from one of the one or more magnetically attractable first surfaces:




                                                                           [25]




                                                                                                     23
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                           Galaxy Buds+ also include Samsung S2MUA01X chips. On information and belief,
                           the S2MUA01X chips include a controller unit.




                                                           [32

                           On information and belief, BCM43015 System on Chip includes a control unit and a
                           sensor hub. On information and belief, the Samsung S2MUA01X chips and the control
                           unit and/or sensor hub of the BCM43015 System on Chip are responsive to a magnetic
                           Hall sensor:




                                                                                                    24
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                           The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                           does make better use of all of its internal space. This time, the 0.315Wh battery is
                           supplied by EVE instead of Varta, and it, together with the main printed circuit board
                           (PCB), reside in one half of the earbud. The other half of each earbud contains the
                           charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                           drivers which are reportedly more difficult to remove (and haven’t been in the video).
                           [26]




                                                                                       [25]




                                                                                                             25
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                                                                                   [31]




                                                                                    26
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                                                                 [32]




                                                                                   27
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                           Also, Samsung Galaxy Buds+ detect if one or more earbuds are decoupled from one or
                           more of the magnets comprising the holder body and accordingly control the sound output
                           in the earbuds. Further, if one or more earbuds are coupled to one or more of the magnets
                           comprising the holder body, the audio stops.

                           The electronic device controller receives a deactivation signal when one or more of
                           the set of earphones are coupled to one or more of the magnets. When paired to
                           a Bluetooth device that is playing audio, one or both Galaxy Buds+ earphones are
                           deactivated and cannot play audio when in the holder.

                           Galaxy Buds+ are compatible with smartphones and tablets running Android 5.0
                           or higher, including without limitation Samsung Galaxy products, all of which
                           include a controller configured to receive Bluetooth signals, including without
                           limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+; Galaxy S9;
                           Galaxy S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy A6, Galaxy S10,
                           Galaxy S10 Plus, Galaxy S10e, S20, S20+ and S20 Ultra 5G.

                           In addition, Galaxy Buds+ are compatible with iPhone7 or later models with iOS10
                           of higher.

                            Compatible with smartphones and tablet running Android 5.0 or higher and with more than 1.5GB of
                           10


                           RAM. Also compatible with iPhone7 or later models with the iOS 10 or higher. [34]




                                                                                                                 28
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1[d] a first set of controls for controlling a   Samsung Galaxy Buds comprise a set of headphones with a touchpad for receiving the
volume of the transmitted audio played by        user input for controlling a volume of the transmitted audio played by the headphones:
the head phones; and




                                                                                                            [1]




                                                                                [1]



                                                                                 [1]




                                                                                                                               29
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                           [1]




                                                                                    [16]

                           Moreover, Samsung Galaxy Buds allow control of volume through controls on a
                           connected device.




                                                                                                         30
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                           Samsung Galaxy Buds+ comprise a set of headphones with a touchpad for receiving the
                           user input for controlling a volume of the transmitted audio played by the headphones:




                                                                                  [33]




                                                                                                    [30]




                                                                                                           31
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                                                                              [35]

                           Moreover, Samsung Galaxy Buds+ allow control of volume through controls on a
                           connected device.




                                                                                                32
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1[e] a second set of controls for controlling a   Samsung Galaxy Buds comprise a set of headphones with a touchpad for receiving the
volume of external audio played by the            user input to activate the ambient sound mode to control the volume level of ambient
headphones.                                       noise received through the headphones:




                                                                                                            [1]




                                                                                                                               33
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                                                                 [1]

                           “Samsung insists that the Galaxy Buds are for talking just as much as they are for
                           listening. Thanks to so-called ‘dual adaptive microphones,’ one on the inside and
                           one on the outside of each earbud, the company says the person on the other end
                           of your calls will hear you more clearly. That's because the earbuds can pick up on
                           your surroundings and automatically switch between the two sets of mics to reduce
                           background noise for whoever you're talking to.”[8]

                           Moreover, Samsung Galaxy Buds allow control of volume of ambient noise through
                           controls on a connected device.




                                                                                                      34
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                           Samsung Galaxy Buds+ comprise a set of headphones with a touchpad for
                           receiving the user input to activate the ambient sound mode to control the
                           volume level of ambient noise received through the headphones:




                                                                              [33]




                                                                                 [35]




                                                                                                   35
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                                                                    [35]




                                                                                   36
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                                                                  [35]

                           Moreover, Samsung Galaxy Buds+ allow control of volume of ambient noise
                           through controls on a connected device.




                                                                                               37
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Claim 2                                       Evidence

2. The audio system of claim 1, wherein the   Samsung Galaxy Buds comprise a set of headphones with a touchpad for receiving a
first set of controls and the second set of   user input:
controls comprise touch sensitive controls.




                                                                                                      [1]




                                                                            [1]



                                                                             [1]




                                                                                                                         38
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                           [1]




                                                                           [16]




                                                                                   39
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                           Samsung Galaxy Buds comprise a set of headphones with a touchpad for receiving the
                           user input to activate the ambient sound mode to control the volume level of ambient
                           noise received through the headphones:




                                                                  [1]

                           Moreover, Samsung Galaxy Buds allow control of volume through touch sensitive
                           controls on a connected device.




                                                                                                        40
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                           Samsung Galaxy Buds+ comprise a set of headphones with a touchpad for receiving a
                           user input:




                                                                                [33]




                                                                                                 [30]




                                                                                                        41
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                                                                          [35]




                                                                                   42
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                                                                    [35]




                                                                                   43
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                                                                      [35]

                           Moreover, Samsung Galaxy Buds+ allow control of volume through touch sensitive
                           controls on a connected device.




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Claim 3                                            Evidence

3. The audio system of claim 1, wherein the        Samsung Galaxy Buds comprise a set of headphones with a headphones controller, a
headphones controller, the first set of controls   first set of controls and a second set of controls:
and the second set of controls are a
component of the headphones.




                                                                                                                  [4]




                                                                                                                              45
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                                                                               [4]




                                                                                     [1]




                                                                                           46
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                                                    [1]



                                                     [1]




                           [1]




                                                                                   47
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                                                               [16]




                                                                                   48
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                                                                [1]


                           Samsung Galaxy Buds+ comprise a set of headphones with a headphones controller, a
                           first set of controls and a second set of controls:




                                                                                                     49
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                                                                    [25]




                                                                           [33]




                                                                                   [30]




                                                                                          50
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                                                                          [35]




                                                                                   51
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                                                                    [35]




                                                                                   52
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                                                                [35]




                                                                                   53
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Claim 5                                       Evidence

5. The audio system of claim 1, wherein the   Samsung Galaxy Buds comprise a set of headphones for playing audio received from the
transmitted audio comprises audio received    electronic device:
from an electronic device.




                                              [16]


                                              Samsung Galaxy Buds+ comprise a set of headphones for playing audio received from
                                              the electronic device:




                                                                                                                         54
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                                                        [35]




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Claim 6                                      Evidence

6. The audio system of claim 1, wherein the  Samsung Galaxy Buds comprise an external microphone for receiving external audio
external audio comprises surrounding ambient comprising surrounding ambient noise:
noise received from an external microphone.




                                             [17]




                                                                                                             [17]




                                                                                                                         56
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                                                [17]


                           Samsung Galaxy Buds+ comprise an external microphone for receiving external audio
                           comprising surrounding ambient noise:




                                                                                [33]




                                                                                                      57
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                           The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                           does make better use of all of its internal space. This time, the 0.315Wh battery is
                           supplied by EVE instead of Varta, and it, together with the main printed circuit board
                           (PCB), reside in one half of the earbud. The other half of each earbud contains the
                           charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                           drivers which are reportedly more difficult to remove (and haven’t been in the video).
                           [26]




                                                                                        [25]




                                                                                                             58
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                                                                    [35]




                                                                                   59
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                                                                [35]




                                                                                   60
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Claim 7                                       Evidence

7. The audio system of claim 6, wherein the   Samsung Galaxy Buds comprise a set of headphones with a touchpad for receiving the
second set of controls control the volume     user input to activate the ambient sound mode to control the volume level of ambient
level of ambient noise received through the   noise received through the headphones:
headphones.




                                                                                     [1]




                                                                                                                           61
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                                                                                     [17]




                                              [17]

                           Moreover, Samsung Galaxy Buds allow control of volume of ambient noise
                           through controls on a connected device.




                                                                                                62
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                           Samsung Galaxy Buds+ comprise a set of headphones with a touchpad for
                           receiving the user input to activate the ambient sound mode to control the
                           volume level of ambient noise received through the headphones:




                                                                              [33]




                                                                                                   63
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                                                                    [35]




                                                                                   64
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                                                                  [35]

                           Moreover, Samsung Galaxy Buds+ allow control of volume of ambient noise
                           through controls on a connected device.




                                                                                               65
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Claim 8                                       Evidence

8. The audio system of claim 1, wherein the   Samsung Galaxy Buds comprise a set of headphones having an adaptive dual
audio system comprises a noise-canceling      Microphone comprising noise-canceling element:
element.




                                              [17]




                                                                                                       [17]




                                                                                                                  66
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                                              [17]


                           On information and belief, Samsung Galaxy Buds+ comprise a set of headphones
                           having an adaptive dual microphone comprising noise-canceling element:




                                                                           [33]




                                                                                               67
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                           The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                           does make better use of all of its internal space. This time, the 0.315Wh battery is
                           supplied by EVE instead of Varta, and it, together with the main printed circuit board
                           (PCB), reside in one half of the earbud. The other half of each earbud contains the
                           charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                           drivers which are reportedly more difficult to remove (and haven’t been in the video).
                           [26]




                                                                                        [25]




                                                                                                             68
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                                                                    [35]




                                                                                   69
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                                                                [35]




                                                                                   70
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Claim 9                                        Evidence

9[pre]. A set of headphones for removably      The preamble is non-limiting. To the extent the preamble is determined to be
coupling with a holder body having one or      limiting, Samsung Galaxy Buds and Samsung Galaxy Buds+ comprise a set of
more magnetically attractable first surfaces   headphones for removably coupling with a holder body having one or more
comprising:                                    magnetically attractable first surfaces:

                                               Samsung Galaxy Buds comprise headphones for playing audio:




                                                                                                            [1]



                                               Samsung Galaxy Buds headphones comprise a charging case with one or more
                                               magnetically attractable surfaces:




                                                                                                                   71
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                                                                          [1]




                                                                                   [2]




                                                                                         72
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                                                                                   [3]




                                                                                         73
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                                                                                    [23]
                           English Translation: Use multiple magnets to assist in headphone positioning


                           Samsung Galaxy Buds+ comprise earphones for playing audio:




                                                                          [33]
                           Samsung Galaxy Buds+ comprise a charging case with one or more magnetically
                           attractable surfaces:




                                                                                                   74
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                                                               [33]




                                                              [32]




                                                     [32]




                                                                                   75
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9[a] a set of headphones for playing            Samsung Galaxy Buds comprise a set of headphones for playing audio comprising
transmitted audio and external audio, the set   one or more magnetic second surfaces:
of headphones comprising one or more
magnetic second surfaces;




                                                                                                            [1]




                                                                                                            [2]




                                                                                                                     76
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                                                                                   [3]




                                                                                         77
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                                                                                          [23]


                           Samsung Galaxy Buds+ comprise a set of headphones for playing audio
                           comprising one or more magnetic second surfaces:




                                                                           [33]




                                                                                                 78
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                           Your device contains magnets, which may affect medical devices, such as
                           pacemakers or implantable cardioverter defibrillators. If you are using any of these
                           medical devices, keep your device a safe distance from them and consult with your
                           physician before you use the device. [33]




                                                                                      [25]




                                                                               [25]




                                                                                                       79
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                           The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                           does make better use of all of its internal space. This time, the 0.315Wh battery is
                           supplied by EVE instead of Varta, and it, together with the main printed circuit board
                           (PCB), reside in one half of the earbud. The other half of each earbud contains the
                           charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                           drivers which are reportedly more difficult to remove (and haven’t been in the video).
                           [26]




                                                                                        [25]




                                                                                                             80
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9[b] a microphone for receiving the external   Samsung Galaxy Buds comprise a microphone for receiving external audio:
audio; and




                                                                                                   [1]




                                                                                                                    81
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                                                           [1]




                           [17]




                                                                                   82
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                                                                                   [17]




                                                                                          83
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                                               [17]

                           “Samsung insists that the Galaxy Buds are for talking just as much as they
                           are for listening. Thanks to so-called ‘dual adaptive microphones,’ one on
                           the inside and one on the outside of each earbud, the company says the
                           person on the other end of your calls will hear you more clearly. That's
                           because the earbuds can pick up on your surroundings and automatically
                           switch between the two sets of mics to reduce background noise for
                           whoever you're talking to.”[8]

                           Samsung Galaxy Buds+ comprise a microphone for receiving external audio:




                                                                                                  84
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                                                                                     [33]



                           The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                           does make better use of all of its internal space. This time, the 0.315Wh battery is
                           supplied by EVE instead of Varta, and it, together with the main printed circuit board
                           (PCB), reside in one half of the earbud. The other half of each earbud contains the
                           charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                           drivers which are reportedly more difficult to remove (and haven’t been in the video).
                           [26]




                                                                                        [25]




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                                                                    [35]




                                                                                   86
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                                                                [35]




                                                                                   87
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9[c] a headphones controller coupled to        Samsung Galaxy Buds comprise a headphones controller coupled to receive an
receive an activation signal when a magnetic   activation signal when one or more of the set of earphones are decoupled from
decoupling is detected as one or more of the   one of the one or more magnets:
magnetic second surfaces is removed and
decoupled from one of the one or more
magnetically attractable first surfaces,
wherein the activation signal causes the
transmitted audio to be played in the
headphones.



                                                                                                          [4]




                                                                                                         [4]

                                               Galaxy Buds also comprise an ABOV F6432AUB Micro Controller Unit.




                                                                                                                      88
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                                                                                   [14]

                           On information and belief, the ABOV F6432AUB and the controller and/or sensor
                           hub of the BCM43014 System on Chip and are responsive to a magnetic Hall
                           sensor:




                                                                                                 89
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                                                                                   [5]




                                                                                         90
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                                                                                          [14]


                           On information and belief, Galaxy Buds are compatible with Samsung Galaxy
                           products, all of which include a controller configured to receive Bluetooth signals,
                           including without limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy
                           S8+; Galaxy S9; Galaxy S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy
                           A6, Galaxy S10, Galaxy S10 Plus, and Galaxy S10e.




                                                                                                 [5]




                                                                                                       91
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                           Quick pairing out
                           of the box
                           Just pop open and pair. Galaxy Buds work right out of the box, connecting with
                           your Galaxy devices in an instant via Bluetooth to get you up to the beat and
                           well on your way. 1,2,3
                           [6]




                                                                                        [15]




                                                                                                  92
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                           [15]

                           Also, Samsung Galaxy buds detect if one or more earbuds are decoupled from one
                           or more of the magnetically attractable surfaces attached to the holder body and
                           accordingly control the sound output in the earbuds. Further, if one or more
                           earbuds are coupled to one or more of the magnetically attractable surfaces
                           attached to the holder body, the audio stops.




                           [24]

                           On information and belief, Galaxy Buds are also compatible with other
                           smartphones, including without limitation Apple iPhones, which also include a
                           controller for receiving Bluetooth signals.




                                                                                                  93
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                                                           [7]

                           When paired to a Bluetooth device that is playing audio, one or both Galaxy Buds
                           earphones activate and begin playing audio when removed from the charging case.


                           The electronic device controller receives a deactivation signal when one or more of
                           the set of earphones are coupled to one or more of the magnets. When paired to
                           a Bluetooth device that is playing audio, one or both Galaxy Buds earphones are
                           deactivated and cannot play audio when in the holder.

                           Samsung Galaxy Buds+ comprise a headphones controller coupled to receive an
                           activation signal when one or more of the set of earphones are decoupled from
                           one of the one or more magnets:




                                                                                                     94
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                                                                       [25]

                           Galaxy Buds+ also include Samsung S2MUA01X chips. On information and belief,
                           the S2MUA01X chips include a controller unit.




                                                                                               95
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                                                         [32

                           On information and belief, BCM43015 System on Chip includes a control unit and
                           a sensor hub. On information and belief, the Samsung S2MUA01X chips and the
                           control unit and/or sensor hub of the BCM43015 System on Chip are responsive
                           to a magnetic Hall sensor:




                                                                                                 96
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                           The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                           does make better use of all of its internal space. This time, the 0.315Wh battery is
                           supplied by EVE instead of Varta, and it, together with the main printed circuit board
                           (PCB), reside in one half of the earbud. The other half of each earbud contains the
                           charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                           drivers which are reportedly more difficult to remove (and haven’t been in the video).
                           [26]




                                                                                       [25]




                                                                                                             97
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                                                                                   [31]




                                                                                    98
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                                                                  [32]




                                                                                    99
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                                              Also, Samsung Galaxy Buds+ detect if one or more earbuds are decoupled from
                                              one or more of the magnets comprising the holder body and accordingly control
                                              the sound output in the earbuds. Further, if one or more earbuds are coupled to
                                              one or more of the magnets comprising the holder body, the audio stops.

                                              The electronic device controller receives a deactivation signal when one or more of
                                              the set of earphones are coupled to one or more of the magnets. When paired to
                                              a Bluetooth device that is playing audio, one or both Galaxy Buds+ earphones are
                                              deactivated and cannot play audio when in the holder.

                                              Galaxy Buds+ are compatible with smartphones and tablets running Android 5.0
                                              or higher, including without limitation Samsung Galaxy products, all of which
                                              include a controller configured to receive Bluetooth signals, including without
                                              limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+; Galaxy S9;
                                              Galaxy S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy A6, Galaxy S10,
                                              Galaxy S10 Plus, Galaxy S10e, S20, S20+ and S20 Ultra 5G.

                                              In addition, Galaxy Buds+ are compatible with iPhone7 or later models with iOS10
                                              of higher.

                                               Compatible with smartphones and tablet running Android 5.0 or higher and with more than 1.5GB of
                                              10


                                              RAM. Also compatible with iPhone7 or later models with the iOS 10 or higher. [34]


Claim 10                                      Evidence

10. The set of headphones of claim 9,         Samsung Galaxy Buds comprise a set of headphones with the first set of controls
wherein a first set of controls control the   to control the volume of transmitted audio played by the headphones and a
volume of transmitted audio played by the     second set of controls to control the volume of external audio played by the
headphones and a second set of controls       headphones:
control the volume of external audio played
by the headphones.




                                                                                                                                   100
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                                                                                            [1]


                           Samsung Galaxy Buds comprise a set of headphones with a touchpad for
                           receiving the user input for controlling a volume of the transmitted audio played
                           by the headphones:




                                                        [1]



                                                         [1]




                                                                                                   101
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                           [1]




                                                               [16]




                                                                                    102
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                           Samsung Galaxy Buds comprise a set of headphones with a touchpad for
                           receiving the user input to activate the ambient sound mode to control the
                           volume level of ambient noise received through the headphones:




                                                               [1]




                                                                                                  103
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                           [17]

                           Moreover, Samsung Galaxy Buds allow control of volume through controls on a
                           connected device.


                           Samsung Galaxy Buds+ comprise a set of headphones with the first set of
                           controls to control the volume of transmitted audio played by the headphones
                           and a second set of controls to control the volume of external audio played by
                           the headphones:




                                                                               [33]




                                                                                                  104
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                                                                                               [30]




                                                                                 [35]

                           Samsung Galaxy Buds comprise a set of headphones with a touchpad for
                           receiving the user input to activate the ambient sound mode to control the
                           volume level of ambient noise received through the headphones:

                           Samsung Galaxy Buds+ comprise a microphone for receiving external audio:




                                                                                                  105
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                                                                                     [33]



                           The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                           does make better use of all of its internal space. This time, the 0.315Wh battery is
                           supplied by EVE instead of Varta, and it, together with the main printed circuit board
                           (PCB), reside in one half of the earbud. The other half of each earbud contains the
                           charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                           drivers which are reportedly more difficult to remove (and haven’t been in the video).
                           [26]




                                                                                        [25]




                                                                                                           106
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                                                                           [35]




                                                                                    107
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                                                                     [35]




                                                                                    108
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                                                                   [35]


                           Moreover, Samsung Galaxy Buds+ allow control of volume through controls on a
                           connected device.




                                                                                              109
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Claim 11                                    Evidence

11. The set of headphones of claim 10,      Samsung Galaxy Buds comprise a set of headphones with a touchpad for
wherein the first set of controls and the   receiving the user input for controlling audio played by the headphones:
second set of controls comprise touch
sensitive controls.




                                                                                                  [1]




                                                                        [1]



                                                                         [1]




                                                                                                                   110
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                           [1]




                                                                                  [16]

                           Samsung Galaxy Buds comprise a set of headphones with a touchpad for
                           receiving the user input to activate the ambient sound mode to control the
                           volume level of ambient noise received through the headphones:




                                                                                                  111
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                                                              [1]

                           Moreover, Samsung Galaxy Buds+ allow control of volume through touch
                           sensitive controls on a connected device.

                           Samsung Galaxy Buds+ comprise a set of headphones with a touchpad for
                           receiving the user input for controlling audio played by the headphones:




                                                                             [33]




                                                                                                112
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                                                                                               [30]




                                                                                 [35]

                           Samsung Galaxy Buds comprise a set of headphones with a touchpad for
                           receiving the user input to activate the ambient sound mode to control the
                           volume level of ambient noise received through the headphones:

                           Samsung Galaxy Buds+ comprise a microphone for receiving external audio:




                                                                                                  113
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                                                                                     [33]



                           The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                           does make better use of all of its internal space. This time, the 0.315Wh battery is
                           supplied by EVE instead of Varta, and it, together with the main printed circuit board
                           (PCB), reside in one half of the earbud. The other half of each earbud contains the
                           charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                           drivers which are reportedly more difficult to remove (and haven’t been in the video).
                           [26]




                                                                                        [25]




                                                                                                           114
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                                                                           [35]




                                                                                    115
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                                                                     [35]




                                                                                    116
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                                                                  [35]


                           Moreover, Samsung Galaxy Buds+ allow control of volume through touch
                           sensitive controls on a connected device.




                                                                                             117
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Claim 13                                        Evidence

13. The set of headphones of claim 10,          Samsung Galaxy Buds include a set of headphones with a touchpad for
wherein the first set of controls and the       controlling audio played by the headphones:
second set of controls are a component of the
headphones.




                                                                                                            [1]




                                                                           [1]




                                                                                                                      118
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                                                     [1]




                           [1]




                                                               [16]




                                                                                    119
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                           Samsung Galaxy Buds comprise a touchpad for receiving the user input to
                           activate the ambient sound mode to control the volume level of ambient noise
                           received through the headphones:




                                                              [1]



                           Samsung Galaxy Buds+ comprise a set of headphones with a touchpad for
                           receiving the user input for controlling audio played by the headphones:




                                                                                                 120
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                                                                         [33]




                                                                                    [30]




                                                                           [35]




                                                                                       121
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                           Samsung Galaxy Buds comprise a set of headphones with a touchpad for
                           receiving the user input to activate the ambient sound mode to control the
                           volume level of ambient noise received through the headphones:

                           Samsung Galaxy Buds+ comprise a microphone for receiving external audio:




                                                                                     [33]



                           The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                           does make better use of all of its internal space. This time, the 0.315Wh battery is
                           supplied by EVE instead of Varta, and it, together with the main printed circuit board
                           (PCB), reside in one half of the earbud. The other half of each earbud contains the
                           charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                           drivers which are reportedly more difficult to remove (and haven’t been in the video).
                           [26]




                                                                                                           122
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                                                                           [25]




                                                                           [35]




                                                                                    123
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                                                                     [35]




                                                                                    124
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                                                                [35]




                                                                                    125
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Claim 14                                    Evidence

14. The set of headphones of claim 9,       Samsung Galaxy Buds comprise a set of headphones for playing audio received
wherein the transmitted audio comprises     from the electronic device:
audio received from an electronic device.




                                            [16]


                                            Samsung Galaxy Buds+ comprise a set of headphones for playing audio received
                                            from the electronic device:




                                                                                                                126
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                                                        [35]




                                                                                    127
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Claim 15                                      Evidence

15. The set of headphones of claim 9,         Samsung Galaxy Buds comprise a set of earphones wherein external audio
wherein the external audio comprises          comprises surrounding ambient noise; the headphones use an Adaptive dual
surrounding ambient noise received from the   microphone and external (e.g. Outer) microphone to detect and control ambient
external microphone.                          noise:




                                              [17]




                                                                                                        [17]




                                                                                                                  128
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                                              [17]


                           Samsung Galaxy Buds+ comprise a set of earphones wherein external audio
                           comprises surrounding ambient noise; the headphones use microphones to
                           detect and control ambient noise:

                           Samsung Galaxy Buds+ comprise a microphones for receiving external audio:




                                                                                              129
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                                                                                     [33]

                           The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                           does make better use of all of its internal space. This time, the 0.315Wh battery is
                           supplied by EVE instead of Varta, and it, together with the main printed circuit board
                           (PCB), reside in one half of the earbud. The other half of each earbud contains the
                           charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                           drivers which are reportedly more difficult to remove (and haven’t been in the video).
                           [26]




                                                                                        [25]




                                                                                                           130
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                                                                           [35]




                                                                                    131
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                                                                     [35]




                                                                                    132
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                                                                [35]




                                                                                    133
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Claim 16                                         Evidence

16. The set of headphones of claim 10,           Samsung Galaxy Buds comprise a set of headphones with a touchpad for
wherein the second set of controls control the   receiving the user input to activate the ambient sound mode to control ambient
level of ambient noise played by the             noise played by the headphones:
headphones.




                                                                                     [1]




                                                                                                             [17]




                                                                                                                       134
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                                               [17]


                           Samsung Galaxy Buds+ comprise a set of headphones with a touchpad for
                           receiving the user input to activate the ambient sound mode to control ambient
                           noise played by the headphones:




                                                                              [33]




                                                                                                 135
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                           The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                           does make better use of all of its internal space. This time, the 0.315Wh battery is
                           supplied by EVE instead of Varta, and it, together with the main printed circuit board
                           (PCB), reside in one half of the earbud. The other half of each earbud contains the
                           charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                           drivers which are reportedly more difficult to remove (and haven’t been in the video).
                           [26]




                                                                                        [25]




                                                                                                           136
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                                                                           [35]




                                                                                    137
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                                                                     [35]




                                                                                    138
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                                                                [35]




                                                                                    139
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Claim 17                                   Evidence

17. The set of headphones of claim 9,      Samsung Galaxy Buds comprise a set of headphones comprising a noise-
wherein the headphones comprise a noise-   canceling element:
canceling element.




                                           [17]




                                                                                                    [17]




                                                                                                              140
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                                              [17]




                           Samsung Galaxy Buds+ comprise a set of headphones comprising a noise-
                           canceling element:




                                                                                             141
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                                                                                     [33]

                           The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                           does make better use of all of its internal space. This time, the 0.315Wh battery is
                           supplied by EVE instead of Varta, and it, together with the main printed circuit board
                           (PCB), reside in one half of the earbud. The other half of each earbud contains the
                           charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                           drivers which are reportedly more difficult to remove (and haven’t been in the video).
                           [26]




                                                                                        [25]




                                                                                                           142
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                                                                           [35]




                                                                                    143
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                                                                     [35]




                                                                                    144
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                                                                [35]




                                                                                    145
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Claim 18                                  Evidence

18[pre]. A method of operating a set of   The preamble is non-limiting. To the extent the preamble is determined to be
headphones comprising:                    limiting, Samsung Galaxy Buds headphones comprise a charging case with one or
                                          more magnetic surfaces:




                                                                                                      [1]




                                                                                             [1]




                                                                                                              146
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                                                                                      [2]




                                                                                    [3]




                                                                                            147
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                           The preamble is non-limiting. To the extent the preamble is determined to be
                           limiting, Samsung Galaxy Buds+ headphones comprise a charging case with one
                           or more magnetic surfaces:


                           Samsung Galaxy Buds+ comprise earphones for playing audio:




                                                                            [33]

                           Samsung Galaxy Buds+ comprise a charging case with one or more magnetically
                           attractable surfaces:




                                                                  [33]




                                                                                               148
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                                                                                      [32]




                                                                           [32]

18[a] removably coupling a magnetic surface   Samsung Galaxy Buds comprise a set of headphones for removably coupling a
of the set of headphones to a magnetically    magnetic surface of the set of headphones to a magnetically attractable surface
attractable surface of a holder body,         of a holder body:




                                                                                                                     149
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                                                                                    [1]




                                                                                    [2]




                                                                                          150
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                                                                                    [3]




                                                                                          151
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                                                                                     [23]
                           English Translation: Use multiple magnets to assist in headphone positioning




                                                                                      [23]

                           Samsung Galaxy Buds+ comprise a magnetic surface for coupling to a
                           magnetically attractable surface of a holder body:

                           Samsung Galaxy Buds+ comprise earphones with a magnetic surface:




                                                                              [33]




                                                                                                  152
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                           Your device contains magnets, which may affect medical devices, such as
                           pacemakers or implantable cardioverter defibrillators. If you are using any of these
                           medical devices, keep your device a safe distance from them and consult with your
                           physician before you use the device. [33]




                                                                                      [25]




                                                                               [25]




                                                                                                      153
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                           The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                           does make better use of all of its internal space. This time, the 0.315Wh battery is
                           supplied by EVE instead of Varta, and it, together with the main printed circuit board
                           (PCB), reside in one half of the earbud. The other half of each earbud contains the
                           charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                           drivers which are reportedly more difficult to remove (and haven’t been in the video).
                           [26]




                                                                                        [25]




                           Samsung Galaxy Buds+ comprise a charging case with one or more magnetically
                           attractable surfaces:




                                                                                                           154
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                                                               [33]




                                                               [32]




                                                     [32]




                                                                                    155
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18[b] sending an activation signal to a          Samsung Galaxy Buds comprise a controller coupled to receive an activation
controller when a magnetic decoupling is         signal when one or more of the magnetic surfaces in the set of earphones are
detected as the magnetic surface of the set of   decoupled from one of the magnetically attractable surfaces in the holder body:
headphones is removed and decoupled from
the magnetically attractable surface of the
holder body, wherein the activation signal
causes transmitted audio to be played in the
headphones;




                                                                                                              [4]




                                                                                                             [4]

                                                 Galaxy Buds also comprise an ABOV F6432AUB Micro Controller Unit.




                                                                                                                        156
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                                                                                   [14]

                           On information and belief, the ABOV F6432AUB and the controller and/or sensor
                           hub of the BCM43014 System on Chip and are responsive to a magnetic Hall
                           sensor:




                                                                                                157
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                                                                                    [5]




                                                                                          158
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                                                                                          [14]



                           On information and belief, Galaxy Buds are compatible with Samsung Galaxy
                           products, all of which include a controller configured to receive Bluetooth signals,
                           including without limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy
                           S8+; Galaxy S9; Galaxy S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy
                           A6, Galaxy S10, Galaxy S10 Plus, and Galaxy S10e.




                                                                                                 [5]




                                                                                                       159
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                           Quick pairing out
                           of the box
                           Just pop open and pair. Galaxy Buds work right out of the box, connecting with
                           your Galaxy devices in an instant via Bluetooth to get you up to the beat and
                           well on your way. 1,2,3
                           [6]




                                                                                        [15]




                                                                                                160
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                           [15]

                           Also, Samsung Galaxy buds detect if one or more earbuds are decoupled from one
                           or more of the magnetically attractable surfaces attached to the holder body and
                           accordingly control the sound output in the earbuds. Further, if one or more
                           earbuds are coupled to one or more of the magnetically attractable surfaces
                           attached to the holder body, the music stops automatically.




                           [24]

                           On information and belief, Galaxy Buds are also compatible with other
                           smartphones, including without limitation Apple iPhones, which also include a
                           controller for receiving Bluetooth signals.




                                                                                                 161
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                                                           [7]

                           When paired to a Bluetooth device that is playing audio, one or both Galaxy Buds
                           earphones activate and begin playing audio when removed from the charging case.

                           The electronic device controller receives a deactivation signal when one or more of
                           the set of earphones are coupled to one or more of the magnets. When paired to
                           a Bluetooth device that is playing audio, one or both Galaxy Buds earphones are
                           deactivated and cannot play audio when in the holder.




                                                                                                   162
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                           Samsung Galaxy Buds+ comprise a controller coupled to receive an activation
                           signal when one or more of the magnetic surfaces in the set of earphones are
                           decoupled from one of the magnetically attractable surfaces in the holder body:




                                                                          [25]

                           Galaxy Buds+ also comprise Samsung S2MUA01X chips. On information and
                           belief, the S2MUA01X chips include a controller unit.




                                                                                                  163
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                                                         [32]


                           On information and belief, BCM43015 System on Chip includes a control unit and
                           a sensor hub. On information and belief, the Samsung S2MUA01X chips and the
                           control unit and/or sensor hub of the BCM43015 System on Chip are responsive
                           to a magnetic Hall sensor:




                                                                                                164
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                           The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                           does make better use of all of its internal space. This time, the 0.315Wh battery is
                           supplied by EVE instead of Varta, and it, together with the main printed circuit board
                           (PCB), reside in one half of the earbud. The other half of each earbud contains the
                           charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                           drivers which are reportedly more difficult to remove (and haven’t been in the video).
                           [26]




                                                                                       [25]




                                                                                                           165
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                                                                                    [31]




                                                                                    166
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                                                                  [32]




                                                                                    167
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                           Also, Samsung Galaxy Buds+ detect if one or more earbuds are decoupled from
                           one or more of the magnets comprising the holder body and accordingly control
                           the sound output in the earbuds. Further, if one or more earbuds are coupled to
                           one or more of the magnets comprising the holder body, the audio stops.

                           The electronic device controller receives a deactivation signal when one or more of
                           the set of earphones are coupled to one or more of the magnets. When paired to
                           a Bluetooth device that is playing audio, one or both Galaxy Buds+ earphones are
                           deactivated and cannot play audio when in the holder.

                           Galaxy Buds+ are compatible with smartphones and tablets running Android 5.0
                           or higher, including without limitation Samsung Galaxy products, all of which
                           include a controller configured to receive Bluetooth signals, including without
                           limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+; Galaxy S9;
                           Galaxy S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy A6, Galaxy S10,
                           Galaxy S10 Plus, Galaxy S10e, S20, S20+ and S20 Ultra 5G.

                           In addition, Galaxy Buds+ are compatible with iPhone7 or later models with iOS10
                           of higher.

                            Compatible with smartphones and tablet running Android 5.0 or higher and with more than 1.5GB of
                           10


                           RAM. Also compatible with iPhone7 or later models with the iOS 10 or higher. [34]




                                                                                                                168
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18[c] receiving the transmitted audio from   Samsung Galaxy Buds comprise a set of headphones for receiving the transmitted
an electronic device;                        audio from an electronic device:




                                                                                                          [1]




                                             [16]


                                             Samsung Galaxy Buds+ comprise a set of headphones for receiving the
                                             transmitted audio from an electronic device:




                                                                                                                   169
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                                                                         [33]




                                                                                    170
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                                                                       [35]




18[d] receiving external audio from a   Samsung Galaxy Buds comprise a set of headphones for receiving external audio:
microphone of the headphones; and




                                                                                                            171
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                                                                           [1]




                                                           [1]




                                                                                    172
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                           “Samsung insists that the Galaxy Buds are for talking just as much as they
                           are for listening. Thanks to so-called ‘dual adaptive microphones,’ one on
                           the inside and one on the outside of each earbud, the company says the
                           person on the other end of your calls will hear you more clearly. That's
                           because the earbuds can pick up on your surroundings and automatically
                           switch between the two sets of mics to reduce background noise for
                           whoever you're talking to.”[8]




                           [17]




                                                                                       [17]




                                                                                                 173
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                                              [17]




                           Samsung Galaxy Buds+ comprise a set of headphones for receiving external
                           audio:




                                                                                               174
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                                                                                     [33]


                           The internal structure of the new Buds+ is similar to last year’s model, but the 2020 entry
                           does make better use of all of its internal space. This time, the 0.315Wh battery is
                           supplied by EVE instead of Varta, and it, together with the main printed circuit board
                           (PCB), reside in one half of the earbud. The other half of each earbud contains the
                           charging contacts, an interfacing microphone, a proximity sensor, as well as the upgraded
                           drivers which are reportedly more difficult to remove (and haven’t been in the video).
                           [26]




                                                                                        [25]




                                                                                                           175
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                                                                     [35]




                                                                                    176
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                                                                [35]




                                                                                    177
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18[e]. adjusting a volume level of one of the   Samsung Galaxy Buds comprise a set of headphones with a touchpad for
transmitted audio and the external audio.       receiving the user input for controlling the volume of the transmitted audio
                                                played by the headphones:




                                                                             [1]



                                                                              [1]




                                                [1]




                                                                                                                         178
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                                                                   [16]


                           Samsung Galaxy Buds comprise a touchpad for receiving the user input to
                           activate the ambient sound mode to control the volume level of ambient noise
                           received through the headphones:




                                                                                                 179
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                                                           [1]




                                                                                    [17]




                                                                                           180
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                                               [17]

                           Moreover, Samsung Galaxy Buds allow control of volume through controls on a
                           connected device.




                                                                                               181
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                           Samsung Galaxy Buds+ comprise a set of headphones with a touchpad for
                           receiving the user input for controlling the volume of the transmitted audio
                           played by the headphones:




                                                                                [33]




                                                                                                [30]




                                                                                                    182
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                                                                                [35]

                           Moreover, Samsung Galaxy Buds+ allow control of volume through controls on a
                           connected device.


                           Samsung Galaxy Buds+ comprise a touchpad for receiving the user input to
                           activate the ambient sound mode to control the volume level of ambient noise
                           received through the headphones:




                                                                             [33]




                                                                                                 183
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                                                                           [35]




                                                                                    184
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                                                                     [35]




                                                                                    185
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                                                                  [35]

                           Moreover, Samsung Galaxy Buds+ allow control of volume of ambient noise
                           through controls on a connected device.




                                                                                              186
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Claim 19                                      Evidence

19. The method of claim 18, wherein a first   Samsung Galaxy Buds comprise a set of headphones with a touchpad for
set of controls control the volume of         receiving the user input for controlling a volume of the transmitted audio played
transmitted audio played by the headphones    by the headphones:
and a second set of controls control the
volume of external audio played by the
headphones.




                                                                           [1]



                                                                            [1]




                                                                                                                      187
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                           [1]




                                                               [16]




                                                                                    188
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                           Samsung Galaxy Buds comprise a touchpad for receiving the user input to
                           activate the ambient sound mode to control the volume level of ambient noise
                           received through the headphones:




                                                              [1]




                                                                                       [17]




                                                                                                 189
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                           Moreover, Samsung Galaxy Buds allow control of volume through controls on a
                           connected device.


                           Samsung Galaxy Buds+ comprise a set of headphones with a touchpad for
                           receiving the user input for controlling a volume of the transmitted audio played
                           by the headphones:




                                                                                 [33]




                                                                                                  [30]




                                                                                                     190
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                                                                                [35]


                           Samsung Galaxy Buds+ comprise a touchpad for receiving the user input to
                           activate the ambient sound mode to control the volume level of ambient noise
                           received through the headphones:

                           Moreover, Samsung Galaxy Buds+ allow control of volume through controls on a
                           connected device.


                           Samsung Galaxy Buds comprise a touchpad for receiving the user input to
                           activate the ambient sound mode to control the volume level of ambient noise
                           received through the headphones:




                                                                             [33]




                                                                                                 191
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                                                                           [35]




                                                                                    192
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                                                                     [35]




                                                                                    193
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                                                                  [35]

                           Moreover, Samsung Galaxy Buds+ allow control of volume of ambient noise
                           through controls on a connected device.




                                                                                              194
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Claim 20                                         Evidence

20. The method of claim 19, wherein the first    Samsung Galaxy Buds comprise a set of headphones with a touchpad for receiving the
set of controls and the second set of controls   user input for controlling a volume of the transmitted audio played by the headphones:
comprise touch sensitive controls.




                                                                                [1]



                                                                                 [1]




                                                 [1]




                                                                                                                              195
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                                                                  [16]


                           Moreover, Samsung Galaxy Buds allow control of volume of ambient noise
                           through touch sensitive controls on a connected device.




                                                                                               196
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                           Samsung Galaxy Buds comprise a touchpad for receiving the user input to activate the
                           ambient sound mode to control the volume level of ambient noise received through the
                           headphones:




                                                                 [1]

                           Moreover, Samsung Galaxy Buds allow control of volume of ambient noise
                           through touch sensitive controls on a connected device.


                           Samsung Galaxy Buds+ comprise a set of headphones with a touchpad for
                           receiving the user input for controlling a volume of the transmitted audio played
                           by the headphones:




                                                                                                      197
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                                                                         [33]




                                                                                    [30]




                                                                                       198
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                                                                                [35]



                           Moreover, Samsung Galaxy Buds+ allow control of volume through controls on a
                           connected device.


                           Samsung Galaxy Buds comprise a touchpad for receiving the user input to
                           activate the ambient sound mode to control the volume level of ambient noise
                           received through the headphones:




                                                                             [33]




                                                                                                 199
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                                                                           [35]




                                                                                    200
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                                                                     [35]




                                                                                    201
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                                                                  [35]

                           Moreover, Samsung Galaxy Buds+ allow control of volume of ambient noise
                           through touch senwsitive controls on a connected device.




                                                                                              202
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Claim 22                                         Evidence

22. The method of claim 19, wherein the first    Samsung Galaxy Buds include a set of headphones with a touchpad for
set of controls and the second set of controls   controlling the transmitted audio and ambient sound played by the headphones:
are a component of the headphones.




                                                                                                              [1]




                                                                                                                      203
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                                                     [1]



                                                      [1]




                           [1]




                                                                                    204
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                                                                   [16]

                           Samsung Galaxy Buds comprise a touchpad for receiving the user input to
                           activate the ambient sound mode to control the volume level of ambient noise
                           received through the headphones:




                                                                                                 205
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                                                               [1]

                           Samsung Galaxy Buds+ comprise a touchpad for receiving the user input to
                           control the volume level of transmitted audio received through the headphones:




                                                                                                 206
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                                                                         [33]




                                                                                    [30]




                                                                           [35]




                                                                                       207
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                           Samsung Galaxy Buds+ comprise a touchpad for receiving the user input to
                           activate the ambient sound mode to control the volume level of ambient noise
                           received through the headphones:




                                                                             [33]




                                                                                [35]




                                                                                                 208
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                                                                     [35]




                                                                                    209
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                                                                [35]




                                                                                    210
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Claim 23                                      Evidence

23[pre] An audio system comprising:           The preamble is not limiting.

23[a] a first earphone comprising a magnet;   The Samsung Level U Pro Active Noise Canceling (“ANC”) comprise a first earphone
                                              having a magnet:

                                              Level U Pro ANC




                                              [10]




                                                                                                                         211
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23[b] a second earphone comprising a           The Samsung Level U Pro ANC comprise a second earphone comprising a magnetically
magnetically attractable surface for removably attractable surface for removably coupling with the magnet:
coupling with the magnet;
                                               Level U Pro ANC




                                                [10]



23[c] an electronic device controller The Samsung Level U Pro ANC comprises an electronic device controller configured to
configured to receive an activation signal when receive an activation signal when a magnetic decoupling of the headphones is detected:
a magnetic decoupling is detected as the
magnetically attractable surface is removed On information and belief, the Level U Pro ANC product use CSR8675 Bluetooth audio
and decoupled from the magnet, wherein the systems on chip (“CSR SoC”). The CSR SoC contains a micro-controller unit, which is an
activation signal causes transmitted audio to 80MHz programmable reduced instruction set computer. On information and belief, the
be played in the first earphone and the second CSR SoC also contains a Kalimba digital signals processor. On information and belief, the
earphone, further wherein the electronic CSR SoC also includes a SPDIF and two PCM/I2S output ports and one SPI/ I2C integrated
device controller receives a deactivation signal circuit communication protocol port. The figure below shows the architecture of the CSR
when the magnetically attractable surface is SoC. On information and belief, the CSR SoC receives an activation signal when the
again coupled to the magnet, wherein the earphones are magnetically decoupled. [12]
deactivation signal causes the transmitted
audio to stop being played in the first earphone
and the second earphone;




                                                                                                                             212
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                                                     [11]




                                                                     [12]




                                                                                    213
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                            On information and belief, the LUP products are compatible with Samsung Galaxy
                            products, all of which also include a controller configured to receive Bluetooth
                            signals, including without limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and
                            Galaxy S8+. On information and belief, the LUP ANC products are compatible
                            Samsung Galaxy products, all of which include a controller configured to receive
                            Bluetooth signals, including without limitation: Galaxy S7 Edge; Galaxy S7; Galaxy
                            S8; and Galaxy S8+; Galaxy S9; Galaxy S9+; Galaxy Note 5Galaxy Note 8; Galaxy
                            Note 9; Galaxy A6, Galaxy S10, Galaxy S10 Plus, and Galaxy S10e. On information
                            and belief, LUP ANC is also compatible with other smartphones, including without
                            limitation Apple iPhones, which also include a controller for receiving Bluetooth
                            signals.

                                    Level U Pro                                   Level U Pro ANC




                                                                                                    214
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                            On information and belief, when the earphones of the Level U Pro ANC are
                            disconnected from each other, the CSR SoC receives an activation signal. On
                            information and belief, the activation signal causes transmitted audio to be played
                            in the first earphone and the second earphone.
                                                              Level U Pro ANC




                                                                                                     [14]




                                                                                                    215
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                                               On information and belief, when the magnetic earphones are coupled to each
                                               other, the CSR SoC receives a deactivations signal. On information and belief, the
                                               deactivation signal causes audio to stop playing in the first and second earphones.

23[d] a first set of controls for controlling a The Samsung Level U Pro Active Noise Canceling (“ANC”) comprises a first set of controls
volume of the transmitted audio played by the for controlling a volume of the transmitted audio played by the first and second
first and second earphones; and                 earphones:




                                                                                                                        [18]


                                                                                                                               [18]




                                                                                                                               216
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23[e] a second set of controls for controlling The Samsung Level U Pro Active Noise Canceling (“ANC”) comprise a second set of
a volume of external audio played by the first controls for controlling a volume of external audio played by the first and second
and second earphones.                          earphones:




                                                                                                                       [18]

                                                                                                                     [18]




                                                                                                                    [18]




                                                                                                                              217
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Claim 24                                    Evidence

24. The audio system of claim 23, wherein   The Samsung Level U Pro Active Noise Canceling (“ANC”) comprises a set of earphones
the transmitted audio comprises audio       for playing transmitted audio received from an electronic device connected through
received from an electronic device.         Bluetooth:




                                                                                                          [18]




                                                                                                                   [18]




                                                                                                                      218
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Claim 25                                    Evidence

25. The audio system of claim 23, wherein   The Samsung Level U Pro Active Noise Canceling (“ANC”) comprises a set of earphones
the external audio comprises surrounding    with an external microphone for receiving the surrounding ambient noise:
ambient noise received from an external
microphone.




                                            [19]




                                            [20]




                                                                                                                      219
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Claim 26                                        Evidence

26. The audio system of claim 25, wherein       The Samsung Level U Pro Active Noise Canceling (“ANC”) comprise a second set of
the second set of controls control the volume   controls for controlling a volume of external audio played by the first and second
level of ambient noise received through the     earphones:
earphones.




                                                                                                                        [18]

                                                                                                                      [18]




                                                                                                                               220
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                                                                                    [18]




                                                                                           221
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Claim 27                                       Evidence

27. The audio system of claim 23, wherein      The Samsung Level U Pro Active Noise Canceling (“ANC”) comprises a noise-canceling
the audio system comprises a noise canceling   element:
element.




                                               [19]




                                               [20]




                                                                                                                         222
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Claim 28                                       Evidence

28[pre] A method of operating an electronic    The preamble is not limiting.
device comprising:

28[a] detecting an engagement status of a      The Samsung Level U Pro and Level U Pro Active Noise Canceling (“ANC”) can detect the
magnetic surface of a first earphone with a    engagement status of a magnetic surface of a first earphone with a magnetically
magnetically attractable surface of a second   attractable surface of a second earphone:
earphone;
                                                     Level U Pro                                  Level U Pro ANC




                                               [9]                                             [10]

                                                                                    Level U Pro




                                                                                                                          223
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                                                                                [21]


                                                        Level U Pro ANC




                                                                                       224
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                                                                                                                     [19]


28[b] sending an activation signal to an     The Samsung Level U Pro and Level U Pro ANC comprise an electronic device controller
electronic device when a magnetic decoupling configured to receive an activation signal when a magnetic decoupling of the
is detected as the magnetic surface of the   headphones is detected:
first earphone is removed and decoupled from
the magnetically attractable surface of the  On information and belief, the Level U Pro and Level U Pro ANC products use CSR8675
second earphone, wherein the activation      Bluetooth audio systems on chip (“CSR SoC”). The CSR SoC contains a micro-controller
signal causes transmitted audio to be played unit, which is an 80MHz programmable reduced instruction set computer. On information
in the first earphone and the second         and belief, the CSR SoC also contains a Kalimba digital signals processor. On information
earphone;                                    and belief, the CSR SoC also includes a SPDIF and two PCM/I2S output ports and one SPI/
                                             I2C integrated circuit communication protocol port. The figure below shows the
                                             architecture of the CSR SoC. On information and belief, the CSR SoC receives an activation
                                             signal when the earphones are magnetically decoupled. [12]




                                                                                                                            225
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                                                     [11]




                                                                     [12]




                                                                                    226
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                            On information and belief, the LUP products are compatible with Samsung Galaxy
                            products, all of which also include a controller configured to receive Bluetooth
                            signals, including without limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and
                            Galaxy S8+. On information and belief, the LUP ANC products are compatible
                            Samsung Galaxy products, all of which include a controller configured to receive
                            Bluetooth signals, including without limitation: Galaxy S7 Edge; Galaxy S7; Galaxy
                            S8; and Galaxy S8+; Galaxy S9; Galaxy S9+; Galaxy Note 5Galaxy Note 8; Galaxy
                            Note 9; Galaxy A6, Galaxy S10, Galaxy S10 Plus, and Galaxy S10e. On information
                            and belief, the LUP and LUP ANC products are also compatible with other
                            smartphones, including without limitation Apple iPhones, which also include a
                            controller for receiving Bluetooth signals.

                                    Level U Pro                                   Level U Pro ANC




                                                                                                    227
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                            On information and belief, when the earphones of the Level U Pro and Level U Pro
                            ANC are disconnected from each other, the CSR SoC receives an activation signal.
                            On information and belief, the activation signal causes transmitted audio to be
                            played in the first earphone and the second earphone.

                                                           Level U Pro




                                                                                                  [13]




                                                                                                  228
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                                                        Level U Pro ANC




                                                                                    [14]




                                                                                    229
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28[c] sending a deactivation signal to the       The Samsung Level U Pro and Level U Pro ANC comprise an electronic device controller
electronic device when the magnetic surface      configured to receive a deactivation signal when a magnetic coupling of the headphones
of the first earphone is again coupled to the    is detected:
magnetically attractable surface of the second
earphone, wherein the deactivation signal        On information and belief, the Level U Pro and Level U Pro ANC products use CSR8675
causes the transmitted audio to stop being       Bluetooth audio systems on chip (“CSR SoC”). The CSR SoC contains a micro-controller
played in the first earphone and the second      unit, which is an 80MHz programmable reduced instruction set computer. On information
earphone;                                        and belief, the CSR SoC also contains a Kalimba digital signals processor. On information
                                                 and belief, the CSR SoC also includes a SPDIF and two PCM/I2S output ports and one SPI/
                                                 I2C integrated circuit communication protocol port. The figure below shows the
                                                 architecture of the CSR SoC. On information and belief, the CSR SoC receives a
                                                 deactivation signal when the earphones are magnetically coupled. [12]




                                                                                 [11]




                                                                                                                               230
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                                                                                 [12]

                            On information and belief, the LUP products are compatible with Samsung Galaxy
                            products, all of which also include a controller configured to receive Bluetooth signals,
                            including without limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+. On
                            information and belief, the LUP ANC products are compatible Samsung Galaxy products,
                            all of which include a controller configured to receive Bluetooth signals, including without
                            limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+; Galaxy S9; Galaxy
                            S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy A6, Galaxy S10, Galaxy S10
                            Plus, and Galaxy S10e. On information and belief, the LUP and LUP ANC products are also
                            compatible with other smartphones, including without limitation Apple iPhones, which also
                            include a controller for receiving Bluetooth signals.

                                     Level U Pro                                        Level U Pro ANC




                                                                                                            231
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                           On information and belief, when the magnetic earphones are coupled to each other, the
                           CSR SoC receives a deactivations signal. On information and belief, the deactivation
                           signal causes audio to stop being played in the first and second earphones.

                                                             Level U Pro




                                                                                                      232
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                                                                                    [13]




                                                                                    233
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                                                        Level U Pro ANC




                                                                                    [14]




                                                                                    234
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28[d] operating the electronic device based      The Samsung Level U Pro and Level U Pro ANC can operate (e.g. Controlling calls and
upon the engagement status of the magnetic       music functionality) the electronic device based upon the engagement status of the
surface of the first earphone with the           magnetic surface of the first earphone with the magnetically attractable surface of the
magnetically attractable surface of the second   second earphone;
earphone;
                                                 On information and belief, the Level U Pro and Level U Pro ANC products use CSR8675
                                                 Bluetooth audio systems on chip (“CSR SoC”). The CSR SoC contains a micro-controller
                                                 unit, which is an 80MHz programmable reduced instruction set computer. On information
                                                 and belief, the CSR SoC also contains a Kalimba digital signals processor. On information
                                                 and belief, the CSR SoC also includes a SPDIF and two PCM/I2S output ports and one SPI/
                                                 I2C integrated circuit communication protocol port. The figure below shows the
                                                 architecture of the CSR SoC. On information and belief, the CSR SoC receives an activation
                                                 signal when the earphones are magnetically decoupled. [12]




                                                                            [11]




                                                                                                                                235
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                                                                               [12]
                           On information and belief, when the earphones of the Level U Pro and Level U Pro ANC
                           are disconnected from each other, the CSR SoC receives an activation signal. On
                           information and belief, the activation signal causes transmitted audio to be played in the
                           first earphone and the second earphone.

                                                              Level U Pro




                                                                                                          236
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                                                                                    [13]



                                                        Level U Pro ANC




                                                                                    237
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                                                                                                       [14]

                           On information and belief, when the magnetic earphones are coupled to each other, the
                           CSR SoC receives a deactivations signal. On information and belief, the deactivation
                           signal causes audio to stop playing in the first and second earphones.




                                                                                                      238
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28[e] receiving the transmitted audio from   The Samsung Level U Pro and Level U Pro Active Noise Canceling (“ANC”) comprises a
the electronic device;                       set of earphones for playing transmitted audio received from an electronic device
                                             connected through Bluetooth:

                                                                                  Level U Pro




                                                                                                                [22]




                                                                                                                 [22]




                                                                                                                        239
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                                                        Level U Pro ANC




                                                                               [18]




                                                                                      [18]




                                                                                        240
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28[f] receiving external audio from a   The Samsung Level U Pro and Level U Pro Active Noise Canceling (“ANC”) comprises a
microphone; and                         set of earphones with microphones for receiving the external audio:

                                                                             Level U Pro




                                                                                           [21]

                                                                          Level U Pro ANC




                                        [19]




                                        [20]




                                                                                                                  241
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28[g] adjusting a volume level in the first     The Samsung Level U Pro and Level U Pro Active Noise Canceling (“ANC”) comprise a set
earphone and the second earphone of one of      of control buttons for adjusting a volume level of the transmitted audio in the first
the transmitted audio and the external audio.   earphone and the second earphone:

                                                                                     Level U Pro




                                                                                                   [21]




                                                                                                             [21]

                                                                                  Level U Pro ANC




                                                                                                                          242
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                                                                                    [18]


                                                                                           [18]




                                                                                           243
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Claim 29                                Evidence

29[pre] An audio system comprising:     The preamble is not limiting.

29[a] a first earphone;                 The Samsung and Level U Pro Active Noise Canceling (“ANC”) comprise a first earphone:




                                         [10]




                                                                                                                   244
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29[b] a second earphone removably coupled   The Samsung Level U Pro ANC comprise a second earphone removably coupled to the
to the first earphone;                      first earphone:




                                            [10]




                                                                                                                    245
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29[c] an electronic device controller The Samsung Level U Pro ANC comprises an electronic device controller configured to
configured to receive an activation signal when receive an activation signal when a magnetic decoupling of the headphones is detected:
a magnetic decoupling is detected as the
second earphone is removed and decoupled On information and belief, the Level U Pro ANC products use CSR8675 Bluetooth audio
from the first earphone, wherein the activation systems on chip (“CSR SoC”). The CSR SoC contains a micro-controller unit, which is an
signal causes transmitted audio to be played in 80MHz programmable reduced instruction set computer. On information and belief, the
the first earphone and the second earphone, CSR SoC also contains a Kalimba digital signals processor. On information and belief, the
wherein the electronic device controller CSR SoC also includes a SPDIF and two PCM/I2S output ports and one SPI/ I2C integrated
receives a deactivation signal when the second circuit communication protocol port. The figure below shows the architecture of the CSR
earphone is again coupled to the first SoC. On information and belief, the CSR SoC receives an activation signal when the
earphone, wherein the deactivation signal earphones are magnetically decoupled. [12]
causes the transmitted audio to stop being
played in the first earphone and the second
earphone;




                                                                              [11]




                                                                                                                           246
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                                                                                 [12]

                            On information and belief, the LUP products are compatible with Samsung Galaxy
                            products, all of which also include a controller configured to receive Bluetooth signals,
                            including without limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+. On
                            information and belief, the LUP ANC products are compatible Samsung Galaxy products,
                            all of which include a controller configured to receive Bluetooth signals, including without
                            limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+; Galaxy S9; Galaxy
                            S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy A6, Galaxy S10, Galaxy S10
                            Plus, and Galaxy S10e. On information and belief, the LUP and LUP ANC products are also
                            compatible with other smartphones, including without limitation Apple iPhones, which also
                            include a controller for receiving Bluetooth signals.

                           Level U Pro ANC




                                                                                                            247
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                            On information and belief, when the earphones of the Level U Pro ANC are
                            disconnected from each other, the CSR SoC receives an activation signal. On
                            information and belief, the activation signal causes transmitted audio to be played
                            in the first earphone and the second earphone.

                                                             Level U Pro ANC




                                                                                                    248
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                                                                                                    [14]

                           On information and belief, when the magnetic earphones are coupled to each
                           other, the CSR SoC receives a deactivations signal. On information and belief, the
                           deactivation signal causes audio to stop playing in the first and second earphones.




                                                                                                    249
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29[d] a first set of controls for controlling a The Samsung Level U Pro Active Noise Canceling (“ANC”) comprises a first set of controls
volume of the transmitted audio played by the for controlling a volume of the transmitted audio played by the first and second
first and second earphones; and                 earphones:




                                                                                                                        [18]


                                                                                                                               [18]




29[e] a second set of controls for controlling The Samsung Level U Pro Active Noise Canceling (“ANC”) comprise a second set of
a volume of external audio played by the first controls for controlling a volume of external audio played by the first and second
and second earphones.                          earphones:




                                                                                                                               250
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                                                                                       [18]

                                                                                     [18]




                                                                                    [18]




                                                                                              251
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Claim 30                                       Evidence

30 The audio system of claim 29, wherein the   The Samsung Level U Pro Active Noise Canceling (“ANC”) comprises a set of earphones
transmitted audio comprises audio received     for playing transmitted audio received from an electronic device connected through
from an electronic device.                     Bluetooth:




                                                                                                             [18]




                                                                                                                      [18]




                                                                                                                         252
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Claim 31                                    Evidence

31. The audio system of claim 29, wherein   The Samsung Level U Pro Active Noise Canceling (“ANC”) comprises a set of earphones
the external audio comprises surrounding    with external microphones for receiving the surrounding ambient noise:
ambient noise received from an external
microphone.




                                            [19]




                                            [20]




                                                                                                                      253
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Claim 32                                        Evidence

32. The audio system of claim 31, wherein       The Samsung Level U Pro Active Noise Canceling (“ANC”) comprises a set of earphones
the second set of controls control the volume   with a second set of controls to control the volume level of ambient noise received
level of ambient noise received through the     through the earphones.:
earphones.




                                                [19]




                                                [20]




                                                                                                                          254
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                                                                                       [18]

                                                                                     [18]




                                                                                    [18]




                                                                                              255
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Claim 33                                       Evidence

33. The audio system of claim 29, wherein      The Samsung Level U Pro Active Noise Canceling (“ANC”) comprises a noise canceling
the audio system comprises a noise canceling   element:
element.




                                               [19]




                                               [20]




                                                                                                                          256
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Claim 34                                    Evidence

34. The audio system of claim 29, wherein   The Samsung Level U Pro Active Noise Canceling (“ANC”) comprises a first earphone
the first earphone comprises a magnet and   with a magnet and a second earphone with a magnetically attractable surface:
the second earphone comprises a
magnetically attractable surface.




                                            [10]




                                            [10]




                                                                                                                       257
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Claim 35                                      Evidence

35. The audio system of claim 29, wherein     The Samsung Level U Pro Active Noise Canceling (“ANC”) comprise a set of earphones,
the first earphone comprises a first magnet   wherein the first earphone comprises a first magnet and the second earphone comprises
and the second earphone comprises a second    a second magnet:
magnet.




                                              [10]




                                              [10]




                                                                                                                         258
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Claim 36                                      Evidence

36[pre] A method of operating an electronic   The preamble is not limiting.
device comprising:

36[a] detecting an engagement status of a     The Samsung Level U Pro and Level U Pro Active Noise Canceling (“ANC”) can detect the
first earphone with a second earphone;        engagement status of a magnetic surface of a first earphone with a magnetically
                                              attractable surface of a second earphone:

                                                    Level U Pro                                  Level U Pro ANC




                                              [9]                                             [10]


                                                                                   Level U Pro




                                                                                                                         259
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                                                                                [21]


                                                        Level U Pro ANC




                                                                                       260
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                                                                                                                      [19]


36[b] sending an activation signal to an       The Samsung Level U Pro and Level U Pro ANC comprise an electronic device controller
electronic device when a magnetic decoupling   configured to receive an activation signal when a magnetic decoupling of the
is detected as the first earphone is removed   headphones is detected:
and decoupled from the second earphone,
wherein the activation signal causes           On information and belief, the Level U Pro and Level U Pro ANC products use CSR8675
transmitted audio to be played in the first    Bluetooth audio systems on chip (“CSR SoC”). The CSR SoC contains a micro-controller
earphone and the second earphone;              unit, which is an 80MHz programmable reduced instruction set computer. On information
                                               and belief, the CSR SoC also contains a Kalimba digital signals processor. On information
                                               and belief, the CSR SoC also includes a SPDIF and two PCM/I2S output ports and one SPI/
                                               I2C integrated circuit communication protocol port. The figure below shows the
                                               architecture of the CSR SoC. On information and belief, the CSR SoC receives an activation
                                               signal when the earphones are magnetically decoupled. [12]




                                                                                                                              261
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                                                     [11]




                                                                     [12]




                                                                                    262
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                            On information and belief, the LUP products are compatible with Samsung Galaxy
                            products, all of which also include a controller configured to receive Bluetooth signals,
                            including without limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+. On
                            information and belief, the LUP ANC products are compatible Samsung Galaxy products,
                            all of which include a controller configured to receive Bluetooth signals, including without
                            limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+; Galaxy S9; Galaxy
                            S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy A6, Galaxy S10, Galaxy S10
                            Plus, and Galaxy S10e. On information and belief, the LUP and LUP ANC products are also
                            compatible with other smartphones, including without limitation Apple iPhones, which also
                            include a controller for receiving Bluetooth signals.

                                     Level U Pro                                        Level U Pro ANC




                            On information and belief, when the earphones of the Level U Pro and Level U Pro ANC
                            are disconnected from each other, the CSR SoC receives an activation signal. On




                                                                                                            263
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                            information and belief, the activation signal causes transmitted audio to be played in the
                            first earphone and the second earphone.

                                                               Level U Pro




                                                                                                           [13]

                                                                Level U Pro ANC




                                                                                                           264
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                                                                                    [14]




                                                                                    265
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36[c] sending a deactivation signal to the      The Samsung Level U Pro and Level U Pro ANC comprise an electronic device controller
electronic device when the first earphone is    configured to receive a deactivation signal when a magnetic coupling of the headphones
again coupled to the second earphone,           is detected:
wherein the deactivation signal causes the
transmitted audio to stop being played in the   On information and belief, the Level U Pro and Level U Pro ANC products use CSR8675
first earphone and the second earphone;         Bluetooth audio systems on chip (“CSR SoC”). The CSR SoC contains a micro-controller
                                                unit, which is an 80MHz programmable reduced instruction set computer. On information
                                                and belief, the CSR SoC also contains a Kalimba digital signals processor. On information
                                                and belief, the CSR SoC also includes a SPDIF and two PCM/I2S output ports and one SPI/
                                                I2C integrated circuit communication protocol port. The figure below shows the
                                                architecture of the CSR SoC. On information and belief, the CSR SoC receives a
                                                deactivation signal when the earphones are magnetically coupled. [12]




                                                                                [11]




                                                                                                                              266
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                                                                                 [12]

                            On information and belief, the LUP products are compatible with Samsung Galaxy
                            products, all of which also include a controller configured to receive Bluetooth signals,
                            including without limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+. On
                            information and belief, the LUP ANC products are compatible Samsung Galaxy products,
                            all of which include a controller configured to receive Bluetooth signals, including without
                            limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+; Galaxy S9; Galaxy
                            S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy A6, Galaxy S10, Galaxy S10
                            Plus, and Galaxy S10e. On information and belief, the LUP and LUP ANC products are also
                            compatible with other smartphones, including without limitation Apple iPhones, which also
                            include a controller for receiving Bluetooth signals.




                                                                                                            267
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                                   Level U Pro                          Level U Pro ANC




                           On information and belief, when the magnetic earphones are coupled to each other, the
                           CSR SoC receives a deactivations signal. On information and belief, the deactivation
                           signal causes audio to stop playing in the first and second earphones.

                                                             Level U Pro




                                                                                                      268
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                                                                                    [13]




                                                                                    269
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                                                        Level U Pro ANC




                                                                                    [14]




                                                                                    270
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36[d] operating the electronic device based   The Samsung Level U Pro and Level U Pro ANC can operate (e.g. Controlling calls and
upon the engagement status of the first       music functionality) the electronic device based upon the engagement status of the
earphone with the second earphone;            magnetic surface of the first earphone with the magnetically attractable surface of the
                                              second earphone;

                                              On information and belief, the Level U Pro and Level U Pro ANC products use CSR8675
                                              Bluetooth audio systems on chip (“CSR SoC”). The CSR SoC contains a micro-controller
                                              unit, which is an 80MHz programmable reduced instruction set computer. On information
                                              and belief, the CSR SoC also contains a Kalimba digital signals processor. On information
                                              and belief, the CSR SoC also includes a SPDIF and two PCM/I2S output ports and one SPI/
                                              I2C integrated circuit communication protocol port. The figure below shows the
                                              architecture of the CSR SoC. On information and belief, the CSR SoC receives an activation
                                              signal when the earphones are magnetically decoupled. [12]




                                                                         [11]




                                                                                                                             271
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                                                                               [12]
                           On information and belief, when the earphones of the Level U Pro and Level U Pro ANC
                           are disconnected from each other, the CSR SoC receives an activation signal. On
                           information and belief, the activation signal causes transmitted audio to be played in the
                           first earphone and the second earphone.

                                                              Level U Pro




                                                                                                          272
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                                                                                    [13]



                                                        Level U Pro ANC




                                                                                    273
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                                                                                                       [14]

                           On information and belief, when the magnetic earphones are coupled to each other, the
                           CSR SoC receives a deactivations signal. On information and belief, the deactivation
                           signal causes audio to stop playing in the first and second earphones.




                                                                                                      274
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36[e] receiving the transmitted audio from   The Samsung Level U Pro and Level U Pro Active Noise Canceling (“ANC”) comprises a
the electronic device;                       set of earphones for playing transmitted audio received from an electronic device
                                             connected through Bluetooth:

                                                                                  Level U Pro




                                                                                                                [22]




                                                                                                                 [22]




                                                                                                                        275
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                                                        Level U Pro ANC




                                                                               [18]




                                                                                      [18]




                                                                                        276
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36[f] receiving external audio from a   The Samsung Level U Pro Active Noise Canceling (“ANC”) comprises a set of earphones
microphone; and                         with a microphone for receiving external audio:
                                                                              Level U Pro




                                                                                        [21]

                                                                          Level U Pro ANC




                                        [19]




                                        [20]




                                                                                                                  277
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36[g] adjusting a volume level in the first     The Samsung Level U Pro Active Noise Canceling (“ANC”) comprise a set of control
earphone and the second earphone of one of      buttons for adjusting a volume level of the transmitted audio in the first earphone and
the transmitted audio and the external audio.   the second earphone:

                                                                                       Level U Pro




                                                                                                     [21]




                                                                                                                 [21]

                                                                                    Level U Pro ANC




                                                                                                                               278
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                                                                                    [18]


                                                                                           [18]




                                                                                           279
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Claim 37                                        Evidence

37. The method of claim 36, wherein the first   The Samsung Level U Pro and Level U Pro ANC comprise a first earphone coupled to the
earphone is coupled to the second earphone      second earphone by a magnet:
by a magnet.
                                                      Level U Pro                                Level U Pro ANC




                                                [9]                                            [10]




                                                                                                                          280
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Claim 38                                       Evidence

38[pre] A method of operating an electronic    The preamble is not limiting.
device comprising:

38[a] detecting an engagement status of a      The Samsung Level U Pro and Level U Pro Active Noise Canceling (“ANC”) can detect the
magnetic surface of a first earphone with a    engagement status of a magnetic surface of a first earphone with a magnetically
magnetically attractable surface of a second   attractable surface of a second earphone:
earphone;
                                                     Level U Pro                                  Level U Pro ANC




                                               [9]                                             [10]

                                                                                    Level U Pro




                                                                                                                          281
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                                                                                [21]


                                                        Level U Pro ANC




                                                                                       282
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                                                                                                               [19]


38[b] sending an activation signal to an     The Samsung Level U Pro and Level U Pro ANC comprise an electronic device controller
electronic device when a magnetic decoupling configured to receive an activation signal when a magnetic decoupling of the
is detected as the magnetic surface of the   headphones is detected:
first earphone is removed and decoupled from
the magnetically attractable surface of the  On information and belief, the Level U Pro and Level U Pro ANC products use
second earphone, wherein the activation      CSR8675 Bluetooth audio systems on chip (“CSR SoC”). The CSR SoC contains a
signal causes transmitted audio to be played micro-controller unit, which is an 80MHz programmable reduced instruction set
in the first earphone and the second         computer. On information and belief, the CSR SoC also contains a Kalimba digital
earphone;
                                             signals processor. On information and belief, the CSR SoC also includes a SPDIF
                                             and two PCM/I2S output ports and one SPI/ I2C integrated circuit communication
                                             protocol port. The figure below shows the architecture of the CSR SoC. On
                                             information and belief, the CSR SoC receives an activation signal when the
                                             earphones are magnetically decoupled. [12]




                                                                                                                      283
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                                                     [11]




                                                                     [12]




                                                                                    284
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                            On information and belief, the LUP products are compatible with Samsung Galaxy
                            products, all of which also include a controller configured to receive Bluetooth
                            signals, including without limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and
                            Galaxy S8+. On information and belief, the LUP ANC products are compatible
                            Samsung Galaxy products, all of which include a controller configured to receive
                            Bluetooth signals, including without limitation: Galaxy S7 Edge; Galaxy S7; Galaxy
                            S8; and Galaxy S8+; Galaxy S9; Galaxy S9+; Galaxy Note 5Galaxy Note 8; Galaxy
                            Note 9; Galaxy A6, Galaxy S10, Galaxy S10 Plus, and Galaxy S10e. On information
                            and belief, the LUP and LUP ANC products are also compatible with other
                            smartphones, including without limitation Apple iPhones, which also include a
                            controller for receiving Bluetooth signals.

                                    Level U Pro                                   Level U Pro ANC




                                                                                                    285
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                            On information and belief, when the earphones of the Level U Pro and Level U Pro
                            ANC are disconnected from each other, the CSR SoC receives an activation signal.
                            On information and belief, the activation signal causes transmitted audio to be
                            played in the first earphone and the second earphone.

                                                           Level U Pro




                                                                                                  [13]




                                                                                                  286
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                                                        Level U Pro ANC




                                                                                    [14]




                                                                                    287
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38[c] sending a deactivation signal to the       The Samsung Level U Pro and Level U Pro ANC comprise an electronic device controller
electronic device when the magnetic surface      configured to receive a deactivation signal when a magnetic coupling of the headphones
of the first earphone is again coupled to the    is detected:
magnetically attractable surface of the second
earphone, wherein the deactivation signal        On information and belief, the Level U Pro and Level U Pro ANC products use CSR8675
causes the transmitted audio to stop being       Bluetooth audio systems on chip (“CSR SoC”). The CSR SoC contains a micro-controller
played in the first earphone and the second      unit, which is an 80MHz programmable reduced instruction set computer. On information
earphone; and                                    and belief, the CSR SoC also contains a Kalimba digital signals processor. On information
                                                 and belief, the CSR SoC also includes a SPDIF and two PCM/I2S output ports and one SPI/
                                                 I2C integrated circuit communication protocol port. The figure below shows the
                                                 architecture of the CSR SoC. On information and belief, the CSR SoC receives a
                                                 deactivation signal when the earphones are magnetically coupled. [12]




                                                                                 [11]




                                                                                                                               288
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                                                                                 [12]

                            On information and belief, the LUP products are compatible with Samsung Galaxy
                            products, all of which also include a controller configured to receive Bluetooth signals,
                            including without limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+. On
                            information and belief, the LUP ANC products are compatible Samsung Galaxy products,
                            all of which include a controller configured to receive Bluetooth signals, including without
                            limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+; Galaxy S9; Galaxy
                            S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy A6, Galaxy S10, Galaxy S10
                            Plus, and Galaxy S10e. On information and belief, the LUP and LUP ANC products are also
                            compatible with other smartphones, including without limitation Apple iPhones, which also
                            include a controller for receiving Bluetooth signals.

                                     Level U Pro                                        Level U Pro ANC




                                                                                                            289
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                           On information and belief, when the magnetic earphones are coupled to each other, the
                           CSR SoC receives a deactivations signal. On information and belief, the deactivation
                           signal causes audio to stop playing in the first and second earphones.

                                                             Level U Pro




                                                                                                      290
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                                                                                    [13]




                                                                                    291
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                                                        Level U Pro ANC




                                                                                    [14]




                                                                                    292
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38[d] operating the electronic device based      The Samsung Level U Pro and Level U Pro ANC can operate (e.g. Controlling calls and
upon the engagement status of the magnetic       music functionality) the electronic device based upon the engagement status of the
surface of the first earphone with the           magnetic surface of the first earphone with the magnetically attractable surface of the
magnetically attractable surface of the second   second earphone;
earphone.
                                                 On information and belief, the Level U Pro and Level U Pro ANC products use CSR8675
                                                 Bluetooth audio systems on chip (“CSR SoC”). The CSR SoC contains a micro-controller
                                                 unit, which is an 80MHz programmable reduced instruction set computer. On information
                                                 and belief, the CSR SoC also contains a Kalimba digital signals processor. On information
                                                 and belief, the CSR SoC also includes a SPDIF and two PCM/I2S output ports and one SPI/
                                                 I2C integrated circuit communication protocol port. The figure below shows the
                                                 architecture of the CSR SoC. On information and belief, the CSR SoC receives an activation
                                                 signal when the earphones are magnetically decoupled. [12]




                                                                            [11]




                                                                                                                                293
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                                                                               [12]
                           On information and belief, when the earphones of the Level U Pro and Level U Pro ANC
                           are disconnected from each other, the CSR SoC receives an activation signal. On
                           information and belief, the activation signal causes transmitted audio to be played in the
                           first earphone and the second earphone.

                                                              Level U Pro




                                                                                                          294
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                                                                                    [13]



                                                        Level U Pro ANC




                                                                                    295
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                                                                                                       [14]

                           On information and belief, when the magnetic earphones are coupled to each other, the
                           CSR SoC receives a deactivations signal. On information and belief, the deactivation
                           signal causes audio to stop playing in the first and second earphones.




                                                                                                      296
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Claim 39                                Evidence

39[pre] An audio system comprising:     The preamble is not limiting.

39[a] a first earphone;                 The Samsung Level U Pro and Level U Pro Active Noise Canceling (“ANC”) comprise a
                                        first earphone:

                                                   Level U Pro                           Level U Pro ANC




                                        [9]                                      [10]




                                                                                                                  297
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39[b] a second earphone removably coupled   The Samsung Level U Pro and Level U Pro ANC comprise a second earphone removably
to the first earphone; and                  coupled to the first earphone:


                                                  Level U Pro                              Level U Pro ANC




                                            [9]                                          [10]




                                                                                                                   298
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39[c] an electronic device controller The Samsung Level U Pro and Level U Pro ANC comprise an electronic device controller
configured to receive and activation signal configured to receive an activation signal when a magnetic decoupling of the
when a magnetic decoupling is detected as the headphones is detected:
second earphone is removed and decoupled
from the first earphone, wherein the activation On information and belief, the Level U Pro and Level U Pro ANC products use
signal causes transmitted audio to be played in CSR8675 Bluetooth audio systems on chip (“CSR SoC”). The CSR SoC contains a
the first earphone and the second earphone, micro-controller unit, which is an 80MHz programmable reduced instruction set
wherein the electronic device controller computer. On information and belief, the CSR SoC also contains a Kalimba digital
receives a deactivation signal when the second
                                                signals processor. On information and belief, the CSR SoC also includes a SPDIF
earphone is again coupled to the first
                                                and two PCM/I2S output ports and one SPI/ I2C integrated circuit communication
earphone, wherein the deactivation signal
causes the transmitted audio to stop being protocol port. The figure below shows the architecture of the CSR SoC. On
played in the first earphone and the second information and belief, the CSR SoC receives an activation signal when the
earphone.                                       earphones are magnetically decoupled. [12]




                                                                                                                     299
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                                                     [11]




                                                                     [12]




                                                                                    300
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                            On information and belief, the LUP products are compatible with Samsung Galaxy
                            products, all of which also include a controller configured to receive Bluetooth
                            signals, including without limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and
                            Galaxy S8+. On information and belief, the LUP ANC products are compatible
                            Samsung Galaxy products, all of which include a controller configured to receive
                            Bluetooth signals, including without limitation: Galaxy S7 Edge; Galaxy S7; Galaxy
                            S8; and Galaxy S8+; Galaxy S9; Galaxy S9+; Galaxy Note 5Galaxy Note 8; Galaxy
                            Note 9; Galaxy A6, Galaxy S10, Galaxy S10 Plus, and Galaxy S10e. On information
                            and belief, the LUP and LUP ANC products are also compatible with other
                            smartphones, including without limitation Apple iPhones, which also include a
                            controller for receiving Bluetooth signals.

                                    Level U Pro                                   Level U Pro ANC




                                                                                                    301
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                            On information and belief, when the earphones of the Level U Pro and Level U Pro
                            ANC are disconnected from each other, the CSR SoC receives an activation signal.
                            On information and belief, the activation signal causes transmitted audio to be
                            played in the first earphone and the second earphone.

                                                           Level U Pro




                                                                                                  [13]




                                                                                                  302
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                                                        Level U Pro ANC




                                                                                    [14]




                                                                                    303
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                           On information and belief, when the magnetic earphones are coupled to each
                           other, the CSR SoC receives a deactivations signal. On information and belief, the
                           deactivation signal causes audio to stop playing in the first and second earphones.




                                                                                                    304
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Claim 40                                      Evidence

40[pre] A method of operating an electronic   The preamble is not limiting.
device comprising:

40[a] detecting an engagement status of a     The Samsung Level U Pro and Level U Pro Active Noise Canceling (“ANC”) can detect the
first earphone with a second earphone;        engagement status of a magnetic surface of a first earphone with a magnetically
                                              attractable surface of a second earphone:

                                                    Level U Pro                                  Level U Pro ANC




                                              [9]                                             [10]

                                                                                   Level U Pro




                                                                                                                         305
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                                                                                [21]


                                                        Level U Pro ANC




                                                                                       306
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                                                                                                                   [19]


40[b] sending an activation signal to an       The Samsung Level U Pro and Level U Pro ANC comprise an electronic device controller
electronic device when a magnetic decoupling   configured to receive an activation signal when a magnetic decoupling of the
is detected as the first earphone is removed   headphones is detected:
and decoupled from the second earphone,
wherein the activation signal causes           On information and belief, the Level U Pro and Level U Pro ANC products use
transmitted audio to be played in the first    CSR8675 Bluetooth audio systems on chip (“CSR SoC”). The CSR SoC contains a
earphone and the second earphone;              micro-controller unit, which is an 80MHz programmable reduced instruction set
                                               computer. On information and belief, the CSR SoC also contains a Kalimba digital
                                               signals processor. On information and belief, the CSR SoC also includes a SPDIF
                                               and two PCM/I2S output ports and one SPI/ I2C integrated circuit communication
                                               protocol port. The figure below shows the architecture of the CSR SoC. On
                                               information and belief, the CSR SoC receives an activation signal when the
                                               earphones are magnetically decoupled. [12]




                                                                                                                          307
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                                                     [11]




                                                                     [12]




                                                                                    308
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                            On information and belief, the LUP products are compatible with Samsung Galaxy
                            products, all of which also include a controller configured to receive Bluetooth
                            signals, including without limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and
                            Galaxy S8+. On information and belief, the LUP ANC products are compatible
                            Samsung Galaxy products, all of which include a controller configured to receive
                            Bluetooth signals, including without limitation: Galaxy S7 Edge; Galaxy S7; Galaxy
                            S8; and Galaxy S8+; Galaxy S9; Galaxy S9+; Galaxy Note 5Galaxy Note 8; Galaxy
                            Note 9; Galaxy A6, Galaxy S10, Galaxy S10 Plus, and Galaxy S10e. On information
                            and belief, the LUP and LUP ANC products are also compatible with other
                            smartphones, including without limitation Apple iPhones, which also include a
                            controller for receiving Bluetooth signals.

                                    Level U Pro                                   Level U Pro ANC




                                                                                                    309
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                            On information and belief, when the earphones of the Level U Pro and Level U Pro
                            ANC are disconnected from each other, the CSR SoC receives an activation signal.
                            On information and belief, the activation signal causes transmitted audio to be
                            played in the first earphone and the second earphone.

                                                           Level U Pro




                                                                                                  [13]




                                                                                                  310
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                                                        Level U Pro ANC




                                                                                    [14]




                                                                                    311
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40[c] sending a deactivation signal to the      The Samsung Level U Pro and Level U Pro ANC comprise an electronic device controller
electronic device when the first earphone is    configured to receive a deactivation signal when a magnetic coupling of the headphones
again coupled to the second earphone,           is detected:
wherein the deactivation signal causes the
transmitted audio to stop being played in the   On information and belief, the Level U Pro and Level U Pro ANC products use CSR8675
first earphone and the second earphone; and     Bluetooth audio systems on chip (“CSR SoC”). The CSR SoC contains a micro-controller
                                                unit, which is an 80MHz programmable reduced instruction set computer. On information
                                                and belief, the CSR SoC also contains a Kalimba digital signals processor. On information
                                                and belief, the CSR SoC also includes a SPDIF and two PCM/I2S output ports and one SPI/
                                                I2C integrated circuit communication protocol port. The figure below shows the
                                                architecture of the CSR SoC. On information and belief, the CSR SoC receives a
                                                deactivation signal when the earphones are magnetically coupled. [12]




                                                                                [11]




                                                                                                                              312
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                                                                                 [12]

                            On information and belief, the LUP products are compatible with Samsung Galaxy
                            products, all of which also include a controller configured to receive Bluetooth signals,
                            including without limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+. On
                            information and belief, the LUP ANC products are compatible Samsung Galaxy products,
                            all of which include a controller configured to receive Bluetooth signals, including without
                            limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+; Galaxy S9; Galaxy
                            S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy A6, Galaxy S10, Galaxy S10
                            Plus, and Galaxy S10e. On information and belief, the LUP and LUP ANC products are also
                            compatible with other smartphones, including without limitation Apple iPhones, which also
                            include a controller for receiving Bluetooth signals.

                                     Level U Pro                                        Level U Pro ANC




                                                                                                            313
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                           On information and belief, when the magnetic earphones are coupled to each other, the
                           CSR SoC receives a deactivations signal. On information and belief, the deactivation
                           signal causes audio to stop playing in the first and second earphones.

                                                             Level U Pro




                                                                                                      314
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                                                                                    [13]




                                                                                    315
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                                                        Level U Pro ANC




                                                                                    [14]




                                                                                    316
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40[d] operating the electronic device based   The Samsung Level U Pro and Level U Pro ANC can operate (e.g. Controlling calls and
upon the engagement status of the first       music functionality) the electronic device based upon the engagement status of the
earphone with the second earphone.            magnetic surface of the first earphone with the magnetically attractable surface of the
                                              second earphone;

                                              On information and belief, the Level U Pro and Level U Pro ANC products use CSR8675
                                              Bluetooth audio systems on chip (“CSR SoC”). The CSR SoC contains a micro-controller
                                              unit, which is an 80MHz programmable reduced instruction set computer. On information
                                              and belief, the CSR SoC also contains a Kalimba digital signals processor. On information
                                              and belief, the CSR SoC also includes a SPDIF and two PCM/I2S output ports and one SPI/
                                              I2C integrated circuit communication protocol port. The figure below shows the
                                              architecture of the CSR SoC. On information and belief, the CSR SoC receives an activation
                                              signal when the earphones are magnetically decoupled. [12]




                                                                         [11]




                                                                                                                             317
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                                                                               [12]
                           On information and belief, when the earphones of the Level U Pro and Level U Pro ANC
                           are disconnected from each other, the CSR SoC receives an activation signal. On
                           information and belief, the activation signal causes transmitted audio to be played in the
                           first earphone and the second earphone.

                                                              Level U Pro




                                                                                                          318
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                                                                                    [13]



                                                        Level U Pro ANC




                                                                                    319
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                                                                                                       [14]

                           On information and belief, when the magnetic earphones are coupled to each other, the
                           CSR SoC receives a deactivations signal. On information and belief, the deactivation
                           signal causes audio to stop playing in the first and second earphones.




                                                                                                      320
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Claim 43                                          Evidence

43. The audio system of claim 5 wherein the       Samsung Galaxy Buds comprise a headphones controller coupled to receive an
activation signal causes the electronic device    activation signal causing the electronic device to start transmitting audio to be
to start transmitting audio to be played in the   played in the headphones:
headphones.




                                                  Quick pairing out
                                                  of the box
                                                  Just pop open and pair. Galaxy Buds work right out of the box, connecting with
                                                  your Galaxy devices in an instant via Bluetooth to get you up to the beat and
                                                  well on your way. 1,2,3
                                                  [6]




                                                                                                                         321
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                                                            [7]


                           Also, Samsung Galaxy buds detect if one or more earbuds are decoupled from one or more
                           of the magnetically attractable surfaces attached to the holder body and accordingly
                           control the sound output in the earbuds. Further, if one or more earbuds are coupled to
                           one or more of the magnetically attractable surfaces attached to the holder body, the
                           music stops automatically.




                           [24]


                           Samsung Galaxy Buds+ comprise a headphones controller coupled to receive an
                           activation signal causing the electronic device to start transmitting audio to be
                           played in the headphones:




                                                                                                       322
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                           Galaxy Buds+ also include Samsung S2MUA01X chips. On information and belief,
                           the S2MUA01X chips include a controller unit.




                                                         [32

                           On information and belief, BCM43015 System on Chip includes a control unit and
                           a sensor hub. On information and belief, the Samsung S2MUA01X chips and the
                           control unit and/or sensor hub of the BCM43015 System on Chip are responsive
                           to a magnetic Hall sensor:




                                                                                                323
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                           The internal structure of the new Buds+ is similar to last year’s model, but the
                           2020 entry does make better use of all of its internal space. This time, the
                           0.315Wh battery is supplied by EVE instead of Varta, and it, together with the
                           main printed circuit board (PCB), reside in one half of the earbud. The other half
                           of each earbud contains the charging contacts, an interfacing microphone, a
                           proximity sensor, as well as the upgraded drivers which are reportedly more
                           difficult to remove (and haven’t been in the video). [26]




                                                                                  [25]




                                                                                                    324
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                                                                                    [31]




                                                                                    325
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                                                                  [32]




                                                                                    326
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                           Also, Samsung Galaxy Buds+ detect if one or more earbuds are decoupled from
                           one or more of the magnets comprising the holder body and accordingly control
                           the sound output in the earbuds. Further, if one or more earbuds are coupled to
                           one or more of the magnets comprising the holder body, the audio stops.

                           The electronic device controller receives a deactivation signal when one or more of
                           the set of earphones are coupled to one or more of the magnets. When paired to
                           a Bluetooth device that is playing audio, one or both Galaxy Buds+ earphones are
                           deactivated and cannot play audio when in the holder.


                           Galaxy Buds+ are compatible with smartphones and tablets running Android 5.0
                           or higher, including without limitation Samsung Galaxy products, all of which
                           include a controller configured to receive Bluetooth signals, including without
                           limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+; Galaxy S9;
                           Galaxy S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy A6, Galaxy S10,
                           Galaxy S10 Plus, Galaxy S10e, S20, S20+ and S20 Ultra 5G.

                           In addition, Galaxy Buds+ are compatible with iPhone7 or later models with iOS10
                           of higher.

                           10Compatible with smartphones and tablet running Android 5.0 or higher and
                           with more than 1.5GB of RAM. Also compatible with iPhone7 or later models with
                           the iOS 10 or higher. [34]




                                                                                                   327
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Claim 44                                         Evidence

44. The audio system of claim 43 wherein a       Samsung Galaxy Buds comprise a headphones controller coupled to receive a
deactivation signal is sent when one or more     deactivation signal when one or more of the magnetic second surfaces is again
of the magnetic second surfaces is again         coupled to one of the one or more magnetically attractable first surfaces and
coupled within one of the one or more            further wherein the deactivation signal causes the electronic device to stop
magnetically attractable first surfaces and
                                                 transmitting audio to be played in the headphones:
further wherein the deactivation signal causes
the electronic device to stop transmitting
audio to be played in the headphones.




                                                 [24]


                                                 Samsung Galaxy Buds+ comprise a headphones controller coupled to receive a
                                                 deactivation signal when one or more of the magnetic second surfaces is again
                                                 coupled to one of the one or more magnetically attractable first surfaces and
                                                 further wherein the deactivation signal causes the electronic device to stop
                                                 transmitting audio to be played in the headphones:




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                           Galaxy Buds+ also include Samsung S2MUA01X chips. On information and belief,
                           the S2MUA01X chips include a controller unit.




                                                         [32

                           On information and belief, BCM43015 System on Chip includes a control unit and
                           a sensor hub. On information and belief, the Samsung S2MUA01X chips and the
                           control unit and/or sensor hub of the BCM43015 System on Chip are responsive
                           to a magnetic Hall sensor:




                                                                                                329
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                           The internal structure of the new Buds+ is similar to last year’s model, but the
                           2020 entry does make better use of all of its internal space. This time, the
                           0.315Wh battery is supplied by EVE instead of Varta, and it, together with the
                           main printed circuit board (PCB), reside in one half of the earbud. The other half
                           of each earbud contains the charging contacts, an interfacing microphone, a
                           proximity sensor, as well as the upgraded drivers which are reportedly more
                           difficult to remove (and haven’t been in the video). [26]




                                                                                  [25]




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                                                                                    [31]




                                                                                    331
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                                                                  [32]




                                                                                    332
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                                              Also, Samsung Galaxy Buds+ detect if one or more earbuds are decoupled from
                                              one or more of the magnets comprising the holder body and accordingly control
                                              the sound output in the earbuds. Further, if one or more earbuds are coupled to
                                              one or more of the magnets comprising the holder body, the audio stops.

                                              The electronic device controller receives a deactivation signal when one or more of
                                              the set of earphones are coupled to one or more of the magnets. When paired to
                                              a Bluetooth device that is playing audio, one or both Galaxy Buds+ earphones are
                                              deactivated and cannot play audio when in the holder.


                                              Galaxy Buds+ are compatible with smartphones and tablets running Android 5.0
                                              or higher, including without limitation Samsung Galaxy products, all of which
                                              include a controller configured to receive Bluetooth signals, including without
                                              limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+; Galaxy S9;
                                              Galaxy S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy A6, Galaxy S10,
                                              Galaxy S10 Plus, Galaxy S10e, S20, S20+ and S20 Ultra 5G.

                                              In addition, Galaxy Buds+ are compatible with iPhone7 or later models with iOS10
                                              of higher.

                                              10Compatible with smartphones and tablet running Android 5.0 or higher and
                                              with more than 1.5GB of RAM. Also compatible with iPhone7 or later models with
                                              the iOS 10 or higher. [34]




Claim 45                                      Evidence

45. The audio system of claim 1 wherein the   Samsung Galaxy Buds comprise a headphones controller with Bluetooth pairing technology
activation signal is sent wirelessly.         to send the activation signal wirelessly:




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                                                                                    [4]




                                                                                [4]




                                                                                          334
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                           Quick pairing out
                           of the box
                           Just pop open and pair. Galaxy Buds work right out of the box, connecting with
                           your Galaxy devices in an instant via Bluetooth to get you up to the beat and
                           well on your way. 1,2,3
                           [6]

                           On information and belief, Galaxy Buds are also compatible with other
                           smartphones, including without limitation Apple iPhones, which also include a
                           controller for receiving Bluetooth signals.




                                                         [7]




                                                                                                335
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                           Samsung Galaxy Buds comprise a headphones controller with Bluetooth pairing technology
                           to send the activation signal wirelessly:


                           Galaxy Buds+ also include Samsung S2MUA01X chips. On information and belief,
                           the S2MUA01X chips include a controller unit.




                                                            [32




                                                                                                      336
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                           On information and belief, BCM43015 System on Chip includes a control unit and
                           a sensor hub. On information and belief, the Samsung S2MUA01X chips and the
                           control unit and/or sensor hub of the BCM43015 System on Chip are responsive
                           to a magnetic Hall sensor:


                           The internal structure of the new Buds+ is similar to last year’s model, but the
                           2020 entry does make better use of all of its internal space. This time, the
                           0.315Wh battery is supplied by EVE instead of Varta, and it, together with the
                           main printed circuit board (PCB), reside in one half of the earbud. The other half
                           of each earbud contains the charging contacts, an interfacing microphone, a
                           proximity sensor, as well as the upgraded drivers which are reportedly more
                           difficult to remove (and haven’t been in the video). [26]




                                                                                  [25]




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                                                                                    [31]




                                                                                    338
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                                                                  [32]




                                                                                    339
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                           Also, Samsung Galaxy Buds+ detect if one or more earbuds are decoupled from
                           one or more of the magnets comprising the holder body and accordingly control
                           the sound output in the earbuds. Further, if one or more earbuds are coupled to
                           one or more of the magnets comprising the holder body, the audio stops.

                           The electronic device controller receives a deactivation signal when one or more of
                           the set of earphones are coupled to one or more of the magnets. When paired to
                           a Bluetooth device that is playing audio, one or both Galaxy Buds+ earphones are
                           deactivated and cannot play audio when in the holder.


                           Galaxy Buds+ are compatible with smartphones and tablets running Android 5.0
                           or higher, including without limitation Samsung Galaxy products, all of which
                           include a controller configured to receive Bluetooth signals, including without
                           limitation: Galaxy S7 Edge; Galaxy S7; Galaxy S8; and Galaxy S8+; Galaxy S9;
                           Galaxy S9+; Galaxy Note 5Galaxy Note 8; Galaxy Note 9; Galaxy A6, Galaxy S10,
                           Galaxy S10 Plus, Galaxy S10e, S20, S20+ and S20 Ultra 5G.

                           In addition, Galaxy Buds+ are compatible with iPhone7 or later models with iOS10
                           of higher.

                           10Compatible with smartphones and tablet running Android 5.0 or higher and
                           with more than 1.5GB of RAM. Also compatible with iPhone7 or later models with
                           the iOS 10 or higher. [34]




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Claim 46                                         Evidence

46. The method of claim 28 wherein the           The Samsung Level U Pro and Level U Pro ANC comprise an electronic device controller
activation signal causes an incoming call to a   configured to receive an activation signal when a magnetic decoupling of the headphones
telephone to be answered and connected and       is detected and the activation signal further causes an incoming call to a telephone to be
further wherein the transmitted audio            answered and further the transmitted audio comprises audio for the call:
comprises audio for the call.
                                                                                        Level U Pro




                                                                                                            [21]


                                                                                     Level U Pro ANC




                                                                                                                                341
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                                                                                    [19]




                                                                                           342
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Claim 47                                     Evidence

47. The method of claim 46 wherein the       The Samsung Level U Pro and Level U Pro ANC comprise an electronic device controller
deactivation signal causes an ongoing call   configured to receive a deactivation signal when a magnetic coupling of the headphones
through the telephone to be terminated.      is detected and the deactivation signal further causes an ongoing call through the
                                             telephone to be terminated:


                                                                                  Level U Pro




                                                                                                      [21]




                                                                                                                         343
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                                                         Level U Pro ANC




                                                                                     [19]




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Claim 48                                          Evidence

48. The method of claim 28 wherein the            The Samsung Level U Pro and Level U Pro ANC comprise an electronic device controller
activation signal causes the electronic device    configured to receive an activation signal when a magnetic decoupling of the headphones
to start transmitting audio to be played in the   is detected and the activation signal further causes the electronic device to start
headphones.                                       transmitting audio to be played in the headphones:
                                                                                          Level U Pro




                                                                                                                  [21]




                                                                                                                              345
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                                                         Level U Pro ANC




                                                                                     [19]




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Claim 49                                         Evidence

49. The method of claim 48 wherein the           The Samsung Level U Pro and Level U Pro ANC comprise an electronic device controller
deactivation signal causes the electronic        configured to receive a deactivation signal when a magnetic coupling of the headphones
device to stop transmitting audio to be played   is detected and the deactivation signal further causes the electronic device to stop
in the headphones.                               transmitting audio to be played in the headphones:

                                                                                      Level U Pro




                                                                                                                 [21]




                                                                                                                            347
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                                                         Level U Pro ANC




                                                                                     [19]




                                                                                            348
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Claim 50                                 Evidence

50. The method of claim 28 wherein the   The Samsung Level U Pro and Level U Pro Active Noise Canceling (“ANC”) comprises a
activation signal is sent wirelessly.    CSR8675 Bluetooth audio systems on chip to send activation signal wirelessly:

                                         On information and belief, the Level U Pro ANC product use CSR8675 Bluetooth audio
                                         systems on chip (“CSR SoC”). The CSR SoC contains a micro-controller unit, which is an
                                         80MHz programmable reduced instruction set computer. On information and belief, the
                                         CSR SoC also contains a Kalimba digital signals processor. On information and belief, the
                                         CSR SoC also includes a SPDIF and two PCM/I2S output ports and one SPI/ I2C integrated
                                         circuit communication protocol port. The figure below shows the architecture of the CSR
                                         SoC. On information and belief, the CSR SoC receives an activation signal when the
                                         earphones are magnetically decoupled. [12]




                                                                                                                       349
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                                                      [11]




                                                                     [12]




                                                                                     350
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                                   Level U Pro                             Level U Pro ANC




                                                                                             351
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Claim 51                                         Evidence

51. The audio system of claim 29 wherein the     The Samsung Level U Pro ANC comprises an electronic device controller configured to
activation signal causes an incoming call to a   receive an activation signal when a magnetic decoupling of the headphones is detected
telephone to be answered and connected and       and the activation signal further causes an incoming call to a telephone to be answered
further wherein the transmitted audio            and further the transmitted audio comprises audio for the call:
comprises audio for the call.
                                                                                    Level U Pro ANC




                                                                                                                      [19]




                                                                                                                             352
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Claim 52                                       Evidence

52. The audio system of claim 51 wherein the   The Samsung Level U Pro ANC comprises an electronic device controller configured to
deactivation signal causes an ongoing call     receive a deactivation signal when a magnetic coupling of the headphones is detected
through the telephone to be terminated.        and the deactivation signal further causes an ongoing call through the telephone to be
                                               terminated:

                                                                                   Level U Pro ANC




                                                                                                                     [19]




                                                                                                                             353
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Claim 53                                          Evidence

53. The audio system of claim 30 wherein the      The Samsung Level U Pro ANC comprises an electronic device controller configured to
activation signal causes the electronic device    receive an activation signal when a magnetic decoupling of the headphones is detected
to start transmitting audio to be played in the   and the activation signal further causes the electronic device to start transmitting audio
headphones.                                       to be played in the headphones.

                                                                                       Level U Pro ANC




                                                                                                                           [19]




                                                                                                                                  354
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Claim 54                                         Evidence

54. The audio system of claim 53 wherein the     The Samsung Level U Pro ANC comprises an electronic device controller configured to
deactivation signal causes the electronic        receive a deactivation signal when a magnetic coupling of the headphones is detected
device to stop transmitting audio to be played   and the deactivation signal further causes the electronic device to stop transmitting
in the headphones.                               audio to be played in the headphones:

                                                                                     Level U Pro ANC




                                                                                                                       [19]




                                                                                                                              355
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Claim 55                                       Evidence

55. The audio system of claim 29 wherein the   The Samsung Level U Pro Active Noise Canceling (“ANC”) comprises a CSR8675
activation signal is sent wirelessly.          Bluetooth audio systems on chip to send activation signal wirelessly:

                                               On information and belief, the Level U Pro ANC product use CSR8675 Bluetooth audio
                                               systems on chip (“CSR SoC”). The CSR SoC contains a micro-controller unit, which is an
                                               80MHz programmable reduced instruction set computer. On information and belief, the
                                               CSR SoC also contains a Kalimba digital signals processor. On information and belief, the
                                               CSR SoC also includes a SPDIF and two PCM/I2S output ports and one SPI/ I2C integrated
                                               circuit communication protocol port. The figure below shows the architecture of the CSR
                                               SoC. On information and belief, the CSR SoC receives an activation signal when the
                                               earphones are magnetically decoupled. [12]




                                                                           [11]




                                                                                                                             356
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                                                                     [12]

                               Level U Pro ANC




                                                                                     357
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